      Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 1 of 60



                IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                        ALEXANDRIA DIVISION


                       ISRAEL ALVARADO, et al.,         :
                                                        :
                                  Plaintiffs,           :
                                                        :
                      v.              : Case No.: 1:22-CV-00876-AJT-JFA
                                                        :
                       LLOYD AUSTIN, III, et al.,       :
                                                        :
                                  Defendants.           :
                       _________________________________:

  SUPPLEMENTAL DECLARATION OF CHAPLAIN Justin E. Brown
 in response to Defendants opposition, Rear Admiral Eric Jones’ Declaration,
  Captain Keith M. Donohue’s Declaration, and Chaplain Justin Brown RAR
                                working file.


         Pursuant to 28 U.S.C. §1746, I, JUSTIN ELISHA BROWN declare as follows:

1.      My name is Justin Elisha Brown. I am over 18 years of age and have

personal knowledge of and am competent to testify on the matters stated herein.

2.       I make this supplemental declaration in response to Defendants Opposition,

Rear Admiral Eric Jones declaration, Captain Keith M. Donohue’s declaration, and

Chaplain Brown’s RAR working file, regarding the Department of Defense and

Department of the Navy mandates requiring that I be vaccinated against COVID-

19. All statements made in this Declaration are true to the best of my own personal

knowledge.

     Defendant's Opposition to Plaintiff's Motion for Preliminary Injunction



                                          1
     Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 2 of 60


3.       On page 20 Defendant’s state my RAR appeal has been denied “but no

administrative action has been initiated”, which is false. After receiving my appeal

denial I was issued a negative CG-3307 P&D-41D 1 (EX 1) stating I was in violation

of Article 90 and 92 of the UCMJ. This negative 3307 is the fourth in a series of

documentation and is used as justification to separate members from the Coast

Guard, constituting initiation of administrative action.

4.       On page 44 Defendants disregard my natural immunity to Covid-19 as a

lesser restrictive means of accommodation, citing lack of data. In my appeal to the

denial of my RAR I provided 150 peer reviewed studies on the efficacy of natural

immunity which were not addressed. On August 11th the CDC acknowledged the

efficacy of natural immunity in producing herd immunity and as stated in my RAR,

Appeal of my RAR denial, and initial declaration to this honorable court I have not

contracted Covid since March of 2020. My personal circumstances have not been

evaluated, only blanket nebulous evocations of force readiness. On page 3

paragraph 3 of Captain Donohue’s declaration he accurately states “He (Chaplain

Brown) provides training, counseling, command advisement, spiritual guidance, and

pastoral care to 2000+ CG personnel in Sectors Houston-Galveston and Corpus

Christi across three states: Texas, Louisiana, and New Mexico”, not once during my

service to civilian and CG personnel have I contracted or spread Covid-19.

                                 Rear Admiral Jones Declaration




1
     My negative 3307 states that I was ordered on June 14th to the base clinic to receive the first dose of the
     COVID-19 vaccine and falsely states that I acknowledged this order on May 27th, which is impossible as I am
     not a time traveler.

                                                         2
     Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 3 of 60


5.       Page 6 paragraph 7 Admiral Jones accurately describes manner in which a

Chaplain is to conduct the RAR interview stating “In assessing the sincerity of the

request, the chaplain must not base his opinion on the chaplain’s personal religious

beliefs or his interpretation of what constitutes an appropriate religious or other

practice, but must focus instead on the importance of the request to the requester in

terms of religious beliefs or principles, given the information provided” However

contrary to this guidance, the office of the Chaplain of the Coast Guard sent out

“optional” questions generated by the HQ legal team for Chaplains to use in the

RAR interview (EX2). These questions were highly argumentative and oppositional

to members requesting a Religious Accommodation and included a table with quotes

from religious leaders from varying faiths stating it was acceptable to take a Covid-

19 shot 2. In my professional and objective opinion the purpose of these questions

was to dissuade members from seeking a Religious accommodation, to establish a

state/Coast Guard approved religious belief on Covid 19 vaccination, particularly

disregarding the objections members had to the use of fetal cells in any manner or

form for the vaccines, and compel chaplains to adhere to a state/Coast Guard

approved religious belief on Covid Vaccination by using these questions to

proselytize our members during the RAR interview.

6.       On page 8 paragraph 16 Admiral Jones states my RAR was processed in

accordance with CG policy described in his declaration. However the negative



2
     The viewpoint of a religious leader is irrelevant to the personal God given conviction of a member submitting an
     RAR. Furthermore it is a violation of the members free exercise of religion to try to impose the Chaplain’s
     perspective on a religious matter. The pressure to implement these questions in our interview serves as a
     violation of my own rights protected under Section 533 of the NDAA 2013 as amended by NDAA 2014.

                                                          3
     Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 4 of 60


endorsement from my Sector Commander, Captain Jason Smith, did not take my

particular circumstances into account and was predetermined (EX3). A first

iteration of the template of the Negative endorsement from the Sector Commander

was distributed on September 21 2021 with a final version sent out on October 18th

2021 stating the Sector Commander cannot endorse any religious accommodations

for approval predating the submission of religious accommodations which were due

October 22nd 2021. The negative endorsement in my RAR follows this same

template and fails to even change the pronouns used to describe me.

7.     During a conference call on or about September 17th 2021 and memorialized

in a September 20th 2021 email (EX4), the Covid Incident management team stated

that even if a religious accommodation or medical exemption were approved the

member was likely to still be administratively separated. Page 8 of exhibit 38

Brown RAR working file states “the Coast Guard’s goal is to have a fully vaccinated

workforce”. This statement, the “optional” questions given to chaplains for RAR

interviews, the blanket negative endorsement from Captain Smith in my RAR,

statements made by the Chaplain of the Coast Guard Chaplain Walcott that it is

unlikely most RAR’s would be approved (EX5, EX6 paragraph 2), and the nearly

universal denial of RAR’s and appeals, clearly indicates the RAR process was

perfunctory with no serious intention of approving any RAR’s.

8.     Admiral Jones states on page 8 paragraph 16 that the Coast Guard would not

take administrative or disciplinary action against me. After being informed of the

injunctive relief provided to me via the Navy Seal class action suit and subsequently

consulting Coast Guard Legal Captain Jason Smith issued a negative 3307 P&D 41-

                                         4
      Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 5 of 60


D to me on June 22, 2022 (EX1), stating I am in violation of article 90 and 92 of the

UCMJ. This same document has been issued to all Coast Guard members who have

not gotten the Covid 19 shots after having their appeals denied and is being used as

justification for their separation for the service. If this document is not disciplinary

or an administrative action then Coast Guard members are being separated

unjustly under false pretenses. If the negative 3307 is disciplinary and an

administrative action then Admiral Jones’ statement is false. Further transferring

me back to the Navy for appropriate corrective action would be tantamount to firing

me from my position, harmful to the Coast Guard members of my sectors,

detrimental to the well being of my family, and harmful to my career.

                   Declaration of Captain Keith Donohue EX

9.      Page 3 Paragraph 4 states I was counseled on 26 October 2021 on the

requirement to receive the Covid 19 shot and that I indicated I would pursue a

RAR. However page 3 Paragraph 5 states accurately I submitted my RAR October

15th 2021 and on October 21 my package was forwarded to CGHQ. I do not know

where the 26 October date came from or why it is listed in my 3307 P&D-41C (EX7).

It is nonsensical that I would be counseled on submitting an RAR after my package

has already been sent to headquarters. This statement is false as this counseling

would be documented in a 3307 P&D-41A and no such documentation of this

counseling has been produced. The inability of the Coast Guard to accurately convey

basic details demonstrates their contempt for the RAR process and religious

convictions of its members.

10.     Page 3 paragraph 5 notes the Sector Commander Captain Jason Smith was

                                            5
      Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 6 of 60


unable to support my RAR, which as already indicated was predetermined(Ex 3).

Further an example is given of Covid 19 infections impacting cutters which is not

germane to me as I have not contracted Covid since March of 2020. Members who

have taken the Covid 19 shot have continued to contract Covid and impact

operations and yet I have not.

11.       Page 4 Paragraph 6 states I was ordered on or about about June 9th to receive

the “Fully FDA approved Covid 19 vaccine”. I actually received the order, via 3307

P&D-41C 3 (EX7) on June 6th was able to sign and acknowledge on June 9th, though

oddly it was not dated by Captain Smith. Further when I arrived at the Walgreens

at 10850 Scarsdale blvd, as ordered they did not have a Fully FDA approved Covid

19 shot which I communicated via memo.

12.       Page 4 paragraph 7 states I received a negative 3307 P&D-41D on June 14th

saying I violated article 90 and 92, the dates are incorrect, I received the negative

3307 P&D-41D (EX1) on June 22nd. On June 14th I received an unsigned email from

Captain Smith stating that there was no difference between Pfizer and Cominarty

according to CG policy and I could make an appointment to receive Cominarty

Labeled vaccine on June 15th or be in violation of article 90 and 92. In the email

Captain Smith states I expressed I would take a Cominarty labeled vaccine. This is

contrary to my repeated statements that the Covid shot violates my God given

convictions as reiterated in my memo dated 14 June (EX8), further demonstrating


3
      Paragraph 3 of this order to get the Covid 19 shot states A violation of this order may subject you to
      administrative and disciplinary consequences and is punishable under the UCMJ and is punishable under article
      90 and 92. The administrative and disciplinary consequences are the negative 3307 P&D-41D (EX1) I received,
      in spite of Admiral Jones’ and the DOJ’s claim that no disciplinary or administrative action has been taken
      against me.

                                                          6
      Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 7 of 60


the contempt the Coast Guard has for people of faith and God given convictions.

13.       The negative 3307 P&D-41D (EX1) from Captain Smith I received on June

22nd contains false information. It states on 14 June I was ordered to the base clinic

by the 15th of June and that I acknowledged this order on May 27th. This is

impossible as I cannot acknowledge an order prior to it being given.

14.       Page 4 paragraph 9 states I have not had any leave requests denied which is

true. However I did not request leave until I was informed by my supervisory

Chaplain 4 it would be approved during the Christmas holiday of 2021, which

occurred for all un-vaccinated members in my AOR and was outside the normal

operating procedures. It is disingenuous to suggest un-vaccinated members were

allowed to travel beyond 50 miles for leave and liberty. In an email dated October

13 2021 I was requested to engage a member from ANT Galveston to complete an

RAR in order for him to attend his church 58 miles from his home, such were the

restrictions of movement placed upon us. I did not leave the local area for leave or

liberty except at Christmas 2021 and after ALCOAST 131/22 5 returned leave and

liberty radius restrictions to local commands. Furthermore during this time I

traveled beyond 50 miles regularly for unit visits and mission requirements, even

going to Cleveland to conduct a funeral for a member who committed suicide. The

contradictory nature travel restrictions for leave and liberty yet permission to travel

for mission needs belies any notion the restrictions pertain to health and mission

readiness and are instead indicative of the coercive methods used by the Coast


      4
       My leave requests go through my district Chaplain not the Command I am assigned to.
5
      See page 28 of Admiral Jones Declaration

                                                        7
      Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 8 of 60


Guard to compel members to violate their God given convictions.

15.     Page 4 paragraph 10 states I must be vaccinated to fully perform my duties

at Sector Houston-Galveston. Yet paragraph 3 of Captain Donohue’s declaration

states I have been fulfilling my duties, and indeed I have and continue to serve

faithfully without missing a single day of work due to contracting Covid 19.

16.     I have the utmost respect for Captain Donohue and Captain Smith, it is an

honor to serve them and all of the Coast Guard. My heart’s desire is to continue to

serve honorably with my integrity and God given convictions intact.

                         Brown RAR Working File EX 39

17.     On page 3 adjacent to Timely submission, an extension was granted to my

appeal timeline and states that I have submitted a FOIA and expressed concern

that no extension would be based on the FOIA timeline. This is false I did not

submit a FOIA which would be inappropriate, I did not request a public release of

my RAR documents. Instead I requested my own documents in order to write my

appeal as is my right under the Privacy Act, in a memo dated 10 March 2022 (EX9).

In an email from March 21st HQS Policies and Standards granted my extension

request and stated timeline extension would not be based on FOIA timelines.

18.     Page 3 Note: states that my initial RAR memo was not received until

February 7th 2022, however in Captain Donohue’s declaration page 3 paragragh 5

he states the Command submitted my RAR on October 21st 2021.

19.     Page 3 states the denial of my RAR included a discussion analysis

individualized to my particular assignment. This “discussion” amounted to little

more than a cut and paste of my job description as was the case for all the RAR

                                          8
      Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 9 of 60


denials 6. I have not contracted Covid since March of 2020 therefore Covid has not

impacted my ability to perform my duties.

20.       On page 3 the last paragraph states CG112 provides up to date medical

information on Covid 19 and “full vaccination” is the least restrictive means of

accommodation. Yet CG112 has not to this point, aligned their guidance with the

August 11th 2022 CDC guidance that acknowledges natural immunity. In

dismissing natural immunity the Coast Guard does not address the 150 peer

reviewed studies I cited in my appeal, nor the T-Cell test I took indicating I am able

to create anti-bodies when exposed to Covid. To suggest the EUA 7 nature of the T-

Cell test or antibody test is the height of hypocrisy, given the Coast Guard allows

EUA Covid 19 shots to satisfy the vaccination requirement, EUA Covid tests to

determine infection, and EUA masks as a precautionary measure. Finally the claim

of implementing the most up to date medical guidance is all the more capricious

given the Coast Guard’s disregard of CDC recommendations concerning booster

doses in order to be “up to date” on Covid vaccination, given the waning efficacy of

the Covid 19 shots.

21.       On page 4 into page 5 the Coast Guard cites several examples of compelling

interest that are generalized and have nothing to do with me or my current

assignment. Delays at the Panama Canal and loss of operational time for unnamed

cutters cannot be attributed to me since I have not been infected with Covid while

serving with the Coast Guard. Particularly when vaccinated and boosted Coast


6
      Most RAR initial denials had a simple job description in paragraph 4.
7
      Emergency Use Authorization

                                                           9
    Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 10 of 60


Guard members continue to contract Covid and yet I have not. In an email to un-

vaccinated pilots 8 dated May 4th 2022 (EX 10), the very mitigation measures the

Coast Guard states are ineffective: masking, sanitizing, social distancing, are

implemented in order to qualify these pilots to fly again. The Coast Guard members

who have submitted RAR’s have been fulfilling their duties during the entire RAR

process, and these pilots are now permitted to train in order to continue flying. It is

clear the Coast Guard can accommodate least restrictive means when they find it

convenient.

22.       On page 6 the Coast Guard states “In consultation with CG-LCL, member is

not included in the class certification”. However Page 20 and 21 of the Defendants

opposition, the DOJ indicates correctly that I am a member of class as certified by

the Texas court.

23.       The Coast Guard has demonstrated an inability to get the correct dates on

many of my documents, riddled those documents with errors, failed to consider my

particular circumstances in adjudicating my RAR, ignored any current CDC

guidance or medical literature contrary to their Covid 19 shot imperative,

disregarded the injunctive relief of the honorable court in Texas by issuing me a

negative 3307 (EX1), and time and again indicated an intent to deny all RAR’s. It is

unfathomable that my RAR was adjudicated in good faith, the contempt the Coast

Guard has for people of faith is clear, and I respectfully implore this honorable court

to act on our behalf.


8
      These un-vaccinated pilots were permitted to attend the training necessary in order to maintain their flight status
      in spite of the Coast Guard saying they were a threat to readiness.

                                                            10
  Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 11 of 60


       I make this declaration under penalty of perjury, it is true and accurate to

the best of my ability, and it represents the testimony I would give if called upon to

                              testify in a court of law.


        September 1, 2022                        /S/ Justin E. Brown_______
                                                 Justin E. Brown




                                         11
                                                                  Ex - 1
            Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 12 of 60
                                              DEPARTMENT OF HOMELAND SECURITY
                                                      U.S.COAST GUARD

                                                    ADMINISTRATIVE REMARKS
                                                            PRIVACY ACT STATEMENT

 Pursuant to 5 U.S.C. §552a(e)13), this Privacy Act Statement serves to inform you of why DHS is requesting the information on this form.
 AUTHORITY: 14 U.S.C. § 505
PURPOSE: Todocumenta USCG service member's achievements, accomplishments, Unifom Code of Mltiary Justice (UCMJ)infraction(s)
or any other USCG military pay or personnel activity.
 ROUTINE USES: Authorized USCGofficlals wil use this information to validatea USCG service member's achievements, accomplishments
UCMJ infractions)or any other USCG miltary pay or personnel activity. Any extemal disclosures of information within this record wll be made
 inaccordancewith DHS/USCG-014,Military Payand Personnel, 76 Federal Register 66933 (October 28, 2011.
  CONSEQUENCES OF FAILURE TO PROVIDE INFORMATION: Providing this information is voluntary. However, failure to provide this
 information may result in a delay in administrating this form.

Entry Type: Perfomance and Diseipline (P&D-41D)

Responsible Level: Unit
 Entry: Negative
On 14JUN2022, youwere ordered to report to BASE Galveston Clinic located at 13411 Hillard St, Houston,
TX 77034 by 15JUN2022 to receive the first dose of the COVID-19 vaccine. You acknowledged receiving the|
order on 27MAY022. You did not report to the location as ordered and did not receive a dose of the vaccine.
You did not have an approved or pending religious or medical exemption on the date that you were ordered to
 report to receive the vaccine. You had the opportunity and means to follow the order and failed to do so.
 Youareinviolation of Article 90 (Wilfully Disobeying aSuperior Commisioned Officer") and Article 92(2
 (Failure to Obey other Lawful Order") of the Uniform Code of Military Justice.




 21/06/2022
                                                        JasorE.Smith
DDMMMYYYY                                           Commanding Officer



2E/0 lurz_: I acknowledge receipt of thi_ CG-3307.
                                      Seli Deo oleria
|DDMMMYYYY

                                                        Jústin E. Brown

 espet Capt. Smih's auts                                d      positn, T respeufll disgcee. As a ayy chup
 an        Proje cte d b            ncLe    deler    ands4cn            s33     f    tue 2ol3       NDAA     &s
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Autin md haue been dened an AT                                              Alyaradov                                         in
                               (Admntsh allva Temporary) Code  c Pend(egal achn A
Ctr     to LG Polic  Per ConDINSi M6Z30.4b. i resPeEtLUN
                                                              (etryll rihts
  1.NAME OF PERMANENT UNIT                                            2. NAME OF UNIT PREPARING THIS FORM
 Sector Houston-Galveston
 3.NAMEOFMEMBER (Last, First,MI)                                      4.EMPLOYEE D NUMBER                   5. GRADE/RATE
Brown, Justin E.                                                                                          03/LI
                                       File original in SPO PDR, Email copy to CG PSC-BOPS-C-MR
CG-3307 (05/20)                                                                                                                      Page 1 of 1
PREVIOUS EDITIONS ARE OBsOLETE
                                         Ex - Filed
            Case 3:22-cv-00265 Document 25-9  2 on 09/06/22 in TXSD Page 13 of 60



 From:                                 Walcott, Thomas CAPT
 Sent:                                 Monday, August 30, 2021 1:48 PM
 To:
                                       HQS-DG-Ist-USCGCHAPLAINS;
 Subject:                              Memo for the Record and the           importance of critical thinking
 Importance:                           High

Team,

am sure it is no surprised to you that the main topic ofconversation these days for the CHC and the Coast Guard/DoD
 is vaccinations. And because of that, it is not a surprise that religious accommodation, and what it is and is not, are
topics of social media,   24 hour news stations, and the     military.
 We as chaplains are in a very difficult situation:
     1.   We are being asked to objectively assess whether or not one's subjective feelings/inclinations/beliefs/gut' are
          "deeply held" or "sincere."
     2.   We  are further being asked to     objectively assess   if those   feelings/beliefs/inclinations/gut' are religious/spiritual
          issues, or political/medical issues.
     3.   We are doing this in the middle of a very political debate in a very divided country. There is a lot of
          "information" out there and people can easily find "facts" to support whatever they want to be supported.

Of the draft memosI have seen so far, roughly 60% use some form of "pro-life/anti-abortion" as their basis. The other
 40% use the argument that they "don't trust it," or "it hasn't been proven," or "1 just don't feel peace about it."


 1 am writing today to tell you that I am praying for all of you as you attempt to pastorally help service members
 articulate their beliefs. I am also praying for the decision makers in the DOD and CG who will have to decide what to do
 with these request. And I am writing to encourage you to -with pastoral sensitivity- help the requestors engage in

critical thinking. What do I mean by this?
          If they say they "don't trust the vaccine," ask what would have to happen for them to "trust" it. Also ask if that
          is a religious or medical issue.
          if they say it is "unproven," ask what if-




                                                     anything would be "adequate" proof in their mind. There might/could
                                                                   -




          be some room for maneuver here.
          If they say they don't trust the govt, ask what it would take for them to trust it, and whether that is a political or
          religious position.
          if they base their position ona pro-ife/anti-abortion stance because of the use of stem cells in the testing of the
          vaccine, ask about the pro-life implications of large groups of people refusing the vaccine. Frankly this is
          precisely the issue that those who approve or deny the request will have to work through; weighing what
          appears to be the "good" of many against what appears to be the "good" of a few. If we expect them to be able
          to articulate why they choose one over the other, it is not out of line to ask the requestors to be able to do so.


These questions/discussions are not to convince or sway, simply to help them clearly articulate their position. The
bettervoucon demonstratethattherequestorhasengogedIn crticalthinkina,themorecredence theirreguestwill
receive. That doesn't t mean it will be granted, but it will likely be taken more seriously. That is our role, to help them
formulate an argument that will be taken seriously by demonstratingcriticalthinkingand showing the depth of their
belief.
         Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 14 of 60
Please let me know what questions you have about this. Send me an c-mail and we will try to address them. I welcome
your feedback.


V/R,

Thom
CAPT, Chaplain Corps, USN
Chaplain of the Coast Guard
Commandant (CG-00A)
2703 Martin Luther King Jr. Ave SE
Washington D.C. 20593-7000
202-372-4545
homas.i.waicoti@usCg.mil

Wwww.uscg.mil/Chaplain
Follow us on Facebook at "Chaplain of the Coast Guard"
Locate your nearest Coast Guard Chaplain: 202-372-4900
National Suicide Prevention Lifeline: 1-800-273-TALK (8255)
Coast Guard Support Confidential Counseling and Assistance: 1-855-CG-SUPRT
(247-8778)
            Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 15 of 60




 From:                                   Walcott, Thomas J CAPT
Sent:                                    Friday, September 3, 2021 11:59 AM
 To:                                     HQs-DG-Ist-USCGCHAPLAINS
 Subject:                                more on relig accom



 Team,

Some added thoughts on Rel Acc.


       1.   Just had a pre-interview with a service member. This was to help them frame their thinking. They will now go
            write a draft request and we will use that as the basis for our next conversation.

       2.                            I
            Want to reiterate what think I communicated        previously
                a.   The more clearly the service member articulates their request & the more they demonstrate critical
                     thinking (that they have considered all side of the issue) the greater the chance the request will receive
                     careful review and consideration.
                b.   Someone I spoke to articulated a pretty logical plan for how they could continue to work for the next 2
                     years without being vaccinated. Iencouraged them to include that in their request. Anything the
                     member can do to help the Coast Guard say "yes" will assist their cause. Don't be so quick to say there is
                     no alternative to getting the vaccine.

Hope most have a chance to relax a little over the weekend.


V/R,

Thomas Walcott
CAPT, Chaplain Corps, USN
Chaplain of the Coast Guard
Commandant (CG-00A)
2703 Martin Luther King Jr. Ave SE
Washington D.C. 20593-7000
202-372-4545

Thonasiwalcott@uscE.nil
www.usCg.mil/Chaplain
Follow us on Facebook at "Chaplain of the Coast Guard"
Locate your nearest Coast Guard Chaplain: 202-372-4900
National Suicide Prevention Lifeline: 1-800-273-TALK (8255)
Coast Guard Support Confidential Counseling and Assistance: 1-855-CG-SUPRT
(247-8778)
             Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 16 of 60




                                        Walcott, Thomas J CAPT
From:
                                                                                 1:54 PM
Sent:                                    Wednesday, September 15, 2021
                                         HQS-DG-Ist-USCGCHAPLAINS; Jeff Benson
To:
                                         Weekly Rel Accom Request report
Subject:


Team,
                                                                                                           very interested
                                                                                                                           in. If the
                                                              information CG and CHC       leadership   are
I don't like   having   to ask for this information but it is                                                             to do it the
                                                                                                                     have
                                                             could harvest this info from there but it is
                                                                                                          not so we
CRP-AT tool     was   up to speed and   widely used    we


old fashioned way.

                                                                                 You may e-mail it   directly   to me,   copying your
Each Friday by COB I require the        following   info from each   chaplain.
Supervisory chaplain train.




      1.     Chaplain's Name


                                                        prior   to this week
        2.   Total number of interviews conducted


                                        submitted    prior   to this week
        3    Total number of   memos




        4.   Interviews conducted this week


        5.   Memos submitted this week


        6.   Inteviews scheduled for next week

                                                                                                            the process, all 5
        know if you have any questions.
                                        FYSA ,thus far 5             packages have worked their way through
 Let me
                      were denied.
 requests for waivers


 V/R,
 Thomas Walcott

 CAPT, Chaplain Corps, USN
                       Guard
 Chaplain of the Coast
  Commandant (CG-00DA)
  2703 Martin Luther King Jr. Ave
                                  SE
  Washington D.C. 20593-7000

  202-372-4545
  Thorna walco!rucg.rol


  www.ucg IilyChaplain
  Follow     us on   Facebook at"Chaplain of the Coast Guard"
                                 Guard Chaplain: 202-372-4900
  Locate     your nearest Coast
                                            1-800-273-TALK (8255)
  National     Suicide Prevention Lifeline:
                                                              Assistance: 1-855-CG-SUPRT
  Coast Guard Support
                      Confidential        Counseling and
  (247-8778)
           Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 17 of 60



From:                                Walcott, Thomas I CAPT
Sent:                                Wednesday. September 15, 2021 10.59 AM
To:
                                     HQS-DG-Ist-USCGCHAPLAINS
Subject:                             FW PNCEB Peer Focus Update (2021
                                                                   09 14)
Attachments:                         ALNAV 062 21 DEPARTMENT OF NAVY MANDATORY                COVID   19 VACCINATION
                                     POLICY.pdf. Navy F&ES Newsletter Jul-Aug 2021.pdf




           :c::      dono:   2ool,   to   CG but   they do aoply for Navy requesting waiver

From:Varsoge2, Charies ECAPT USN CHIEFE CHAPLAINS (USA) <charles.e.varsogea.mil@us.navy.mil>
Sent: Tuesday. September 14, 2021 3:30 PM
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glen wood1@navyrmil
 Subject: P1CEB Pter Fotu, Update (2021 09 14)

 PNCEB Leaders,
         This is the PNCEB4 Peer lotus message. N is written for PNCEB leaders, but much of the content wil
 be of interest to your ubordinate RMI. Unlike the "ALLCHAPS" message, which should be sent to
 subordinate RMTs in it, entirety, use your prolessional judgnent on which items to send on from this
 message.
           Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 18 of 60

        Please also consider sharing information of interest with mc (cc Ch. Solomon) andI will ensure that it
makes it into these mcssages, our ability to collaboratc as senior lcaders is both necessary to PNC and an
excellent cxample for subordinate RMTs.

cOvID Vaccinations & Requests for Religious Accommodation-Please ensure this is received by all the
RMTs under your supervision
     Active duty service members are required to be fully vaccinated against COVID-19 within 90 days (24
Nov) and Reserve Component members within 120 days (24 Dec). Failure to comply is punishable as a
violation of a lawful order under Article 92 of the UCMJ. (ALNAV 62/21).
        Service members and commanders may inquire about waivers from this vaccine for religious reasons.
It is important to note that the religious accommodation process for the COVID-19 vaccine is no different than
any other vaccine service members may be asked or directed to take. BUPERSINST 1730.11A, MILPERSMAN
1730-020, and MCO 1730.9, and cOMDTINST 1000.15 cover the process for requesting a religious waiver to
policy for immunizations. Above directives also clearly describe the responsibilities of the member, the
 interviewing chaplain, and the commander. All chaplains should be thoroughly familiar with these directives
 and prepared to advise service members and their commanders.
         The DORM policy directorate has assembled a Religious Accommodation Toolkit to aid RMTs in
 advising service members and commanders, including sample accommodation requests. The Toolkit is
 available on the Navy Chief of Chaplains MilBook page, under the "Policy & Strategy" tab.
        www.mulsuite.mil/book/groups/navychiefofchaplains
        Religious accommodation requests are one of the most important ways we care for our people, they
are not something a chaplain may opt out of because of the nature of the request or the chaplain's personal
beliefs regarding it. it 1akes great personal commitment and courageto ask the government to change its rules
for the sake of individual beliefs. As part of our responsibility to care for anyone making an accommodation
request, RMTs should treat the beliefs of service members with the utmost respect and seriousness. Treating
service members with dignity and respects includes refraining from influencing the member by your religious
thoughts or beliefs, and refraining from offering your assessment of their beliefs while conducting the
 intervie
          Interviewing chaplains play a vital role in the religious accommodation request process. They are the
 only ones who can advise commanders of a requestor's individually held sincere religious beliefs. Chaplains
 are able to better advise commanders by asking additional questions such as: (e.g. Teli me about these
 beliefs. How long have you held them? How do you practice them? How have they developed over time? How
 co you express them in your daily life? How and when did you determine that this particular practice was an
 imponant part of your overall religious beliefs or principles? and What happens if your request were to be
 denied?
         The burden lies upon the government to prove why it cannot accommodate a religious practice
 reauest, not upon the service member to prove why it should. However, there are compelling reasons why
 the government may deny accommodation requests and no two situations are alike. As part of the care we
 provide, RIMTs should also help requestors manage expectations and consider how they will proceed should
 the request for accornmodation be denied.


 From the Detailer
           Chaplains 1o be considered by the FY23 05 Milestone Board have received an email informing them of their
 clhgibility We ent this to both their official and personal email addresses as the Navy continues to struggle with the roll
 out of Flank Speed and signilicant inconsistencies in the GAL resulting in lost emails.
         The list, along with Iinks to relevant instructions, is published on the CHC Detailer page of the MyNavyHR
 wcbsite for your SA and leadership as required (http://www.mynavyhr.navy.mil/Career
 Management/Detailing/offiter/Pers, 44 Stall Rl/Chuplain-Corp:/). Letters to the board and "Don't Pick Me" letters
 must be received NLT 17 Septenber and are best ubmitted via [lectronic Submission of Selection Board Documents
        Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 19 of 60

                      be found        BOL. Additional information about this   can   be found   on   the MyNavyHR site under
(ESSBD) which   can              on

General Board Information.

Message Round-Up
  1. Memorandum-Force Health Protection Guidance (Supplement 23)Department ofDefense
      Guidance for Coronavirus Discase 2019 Vaccination Attestation and Screcning Testing for Unvaccinated
      Personnel
      BLUF: Service members (Armed Forces under DOD authority on active duty or in the Ready Reserve,
                                 are required to be vaccinated for COVID-19, and therefore are
                                                                                               not
               the National
          including                          Guard)
          required      to       DD Form 3 150, DOD civilian employees (regardless of whether they are
                             complete    a
          authorized to telework or perform remote work) and DOD contractors personnel must attest to
          their vaccination status by completing DD Form 3150. Official Visitors to DOD Facilities must show
          vaccination status by completing DD Form 3150


  2. DD Form 3150
           BLUF: "Certification of Vaccination" card for non-military DoD civilian employees, DoD contractors,
           and official visitors to DoD facilities


  3. ALINAV 065/21 SUICIDE PREVENTION MONTH
           BLUF: To bring additional attention to this complex issue and remind all our Sailors, Marines, and
           civilians of the resources available



From the Fleet
CNIC Please see the attached article on the Speed of Trust in CNREURAFCENT




Charles E. Varsogea
CAPT, CHC, USN


Executive Assistant to the Chief of Navy Chaplains


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             Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 20 of 60




From:                                       Walcott, Thomas        CAPT
Sent                                        Sunday, September 19, 2021 9:28 AM
To:                                         HQS-DG-Ist-USCGCHAPLAINS
Subject:                                    Rel Acc Memo Tracking




Team.
Wanted to get this out to you before we left on leave.

Fysa. ofthe reports I've received, 281 Rel Acc Memo waivers have been completed. I know there are more
because I haven't heard from all of you yet. This represents a lot of work by our team. Thank you.

For the next few weeks please continue to send me (with a copy to                                     your weekly stats by COB
cach Friday. If you didn't report this past week, please add the past weeks numbers to next weeks total, so what
I need is:

1. Interviews (whether or they resulted in a memo) and 2. Number ofmemos completed.

 Also, it'd be interesting to know if there are specific units or geographic areas where there are a signifñicantly
higher number of requests coming from.

Again,     to   inform,   not   persuade,  be helpful to ask those objecting to anything having to do with stem
                                            it   might
cells if they are also giving up Tylenol, Ibuprofen, pesto bismo and the large number of over the counter meds
that used stem cells in testing.

Please continue to pray for                              and              as they recover from their surgeries.


      and I be on leave this week.               Have   a   great week and thanks for all you do.

V/R
            Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 21 of 60




From:                              Stroud, David A CDR
Sent:                              Tuesday, September 21,   2021 1:13 PM
To:                                HQS-DG-Ist-USCGCHAPLAINS; Rodriguez, Santiago CAPT
Subject:                            RA Questions
Attachments:                        Chaplain Religious Accommodation Questions.docx


Good Afternoon All,
We received this list today from thelegal people here at HQ. It is a list of questions the chaplain can use in conducting
        accommodation interviews. We are forwarding it on for your purposeful                        You     not have to use
religious                                                                            consideration.       do
them, but you will most likely find some, if not all, of it useful. Please let me know if you have any questions or
concerns.

V/R,
Chap. Stroud



CDR David A. Stroud, CHC, USN
Deputy Chaplain of the Coast Guard (CG-00A)
Chaplain for Mission Support (DCMS)

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Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 22 of 60




   It is important to provide context in the memo discussing the member's belicf. If they
   come to the meeting and begin by discussing concerns about safety, politics, ctc., notc
   that in the memo. Even if the member eventually statcs that it is a bclicf bascd on
   religion. note their first expression and how they moved from non-religious belicfs to
   religious ones. Notc amy comments made by the member that make it appcar they are
   using the religious excmption as a ruse to avoid the vaccine.

Have the member describe how they consistently keep the tenets of their faith and
   demonstrate those in their daily lifc. Ask them to be as specific as possible. Put the
   specifics acts (or lack thereof) in the memo.

A s k whcther the member is part of any particular religious faith.
       o1fyes, ask whether their religious leaders have spoken on the issue and have taken
            a position one way or the other on the vaccine.
               Ifquestion
                   the or discuss it with their faith leaders prior to continuing
                          member is not sure, ask whether the member wants to explore that
                                                                                  to pursue
                       their request.
                       If the member says they have not yet but do not want to discuss it with
                       their faith leaders, note that in the memo.
       o    If the member indicates he/she is part of one of the following faiths, consult Table
            and discuss with them the quotes from the religious leaders cited therein:
            Judaism. Protestant Christianity, Catholicism, Island, Evangelical Christianity,
            Hindu, Orthodox Christianity, and Mormonism. Ask how their beliefs differ from
            those of the religious leaders. Note their response in the memo.
        o   If not part of any organized religion-
                Ask the member to explain the underlying tenants and core beliefs
                                                                                   of their
                       faith, and how they practice that faith in their day-to-day life.
                       Specifically inquire into how the order to take this particular vaccine
                       substantially burdens their religious beliefs.

    Ask whether the member attends scrvices or whether and how they gather with others to
    worship.
            I they
              f indicate they worship with others, ask whether the member knows of other
            individuals within the faith that have been vaccinated.
                   If so, ask whether the member has discussed the vaccination with those
                    individuals to determine how they reconciled receiving the vaccine with
                       the religious teachings.
                       If not, ask whether the member wants to take
                                                                    part in such conversations
                       prior to pursuing the request. If not, note this in the memo.

    Ask what makes this relusal to be vaccinated
                                                      against COVID-19 such      annportant part
    of their rcligion or their religious beliefs? If the member starts to
                                                                            speak aboul safety,
    political, or ethical concerns, as opposed to religious concerns, note that in the memo.

    Ask how long they have held their eurrent religious belicls or been part of tlheir curent
    religious faith.
Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 23 of 60



        o   11 not a rccent convert, as whether they have reccived other vaccinations in the
            1past
                    1f yes. ask how they reconcile this requcst with past willingness to be
                   vaccinated. Note their responsce and any apparent contradictions
                    If no. capture that in your memo
       o I f a recent convert. cxplore why they converted and how long they have practiced
           the faith Ask whethher they have undergone any specific classcs or studies that
           hclped them understand the teaching of the religion that they have recently joined.
           if they have not, note that in the memo.

 F o r those objecting bascd on the use of fetal cells, ask the member if they have done
   Tesearch on the fetal cell development.
       o f yes. ask whether they understand that the Pfizer BioNTech vaccine was not
           manufactured in cell lines, that cell lines were only used in the testing of the
           vaccine after it was devcloped.
           Confim they understand that the vaccine that will be administered does not
            contain fetal cells
            Ask whether they have read the reports that the fetal cells that were used to
            devclop a cell line that was used to test the vacine were from a supposedly
            therapeutic abortion where the mother was at-risk (as opposed to an elective
            abortion w here the mother's health is not in jeopardy).
                    Ask whether they want additional time to do research and talk with
                    someone in medical before procecding with their request.
                    If they do not want more time despite their lack of information about the
                    vaccine. note that in the memo.

     1f secking cxemption based on use of stem or fetal cells, ask whether the member has
     taken any other medicine that were developed and tested using fetal cells.
         1 f yes, 2sk what kind
             f no, ask if they have ever taken Tylenol, Pepto Bismol, Aspirin, Ilbuproten,
            Benadryl or Claritin, all of which were developcd using fetal cells. Ask whether
            they are also going to be refraining from any of these medications and from all
             products whose develop1nent involved fetal cells at some point. Note response in
             nemo



     Fur thosec stating that they are sceking an exemption because by quoting| Corinthians
     619-20, ask what stcps they takc to ensure that other toreign substances ure not
     iniroduccd into the body.
             Fur those members with vis1ble tattoos, ask how they reconeile tlat act with their
             belheis.

 Ask whether thcir cligon supports altruism and proteetion of otlheIs, or making
  sacrnlices tu help others
              yes, ask whetherthey have considered that tlis act could be viewed as
             prolectmg others.
           Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 24 of 60




From:                                Stroud, David A CDR
Sent:                                Tuesday. September 21,2021 2:35 PM
To:                                  HQS-DG-Ist- USCGCHAPLAINS Rodriguez, Santiago CAPT
Subject:                             RA QUestions



Hello (again) all,
 have already received several phone calis with a similar theme so i thought I would put something out providing a little
clarification. The questions provided by legal that I sent out are intended to be used at your discretion. There is no
 requirement to use them. We are certainly not asking you to be the Spanish Iinquisition. When I read the list, I thought
there were ways of asking questions that some could find helpful. We know and appreciate all the time that you are
investing into these interviews and memo writing and do not mean to convey that you need to do more. This was
intended to simply provide additional questions to consider and use if you find them helpful. Again, thank you for all the
work you are doing to get this done and get it done in a way that serves the service and respects the various beliefs of
our people.
V/R
Chap. Stroud

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            Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 25 of 60




From                                       Stroud.David A CDR
                                                                                   743 AM
Sent                                       Wednesday.September 22 2021
To:
                                           HOS-DG st-USCGCHAPLAINS, Rodriguez. Santiago CAPT
                                           Tabie 1 Quotes
Subject
Attachments                                Zimmerman articie pdf



Good Morning All,                                                                                                                         table
                                                         reference to     a   "table 1"   with   quotes from    religious leaders. That
The list of questions      I1sent out   yesterday made
                                                                                                 It is the last page of the attached
was not    included      Ireached out this morning to     legal   and   they provided      it.

                                  requirement that you use them, but they         are   provided for    your   awareness.
articie.   Again,   it is not a

V/R
Chap Stroud

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Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 26 of 60




                                LSEIER


Since January 2020 Elsevier has createda COVID-19 resource centre with
free information in English and Mandarin on the novel coronavirus COVID-
  19.The COvID-19 resource centre is hosted on Elsevier Connect, the

              ompany's public   news   and information website




    Eisevier hereby grants permission to make all its COvID-19-related
research tnat is available on the COVID-19 resource centre including this
   research content   immediately available in PubMed Central and other
publicly funded repositories, such as the WHO COVID database with rights
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 granted for free by Elsevier for as long as the CoVID-19 resource centre

                              remains active
           Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 27 of 60




                                                              Contents lists available at ScienceDirect


                                                                              Vaccine
                                               journal homepago: www.elsevier.com/locate/vaccine


Commentary
Helping patients with ethical concerns about COVID-19 vaccines in light
                                                                                                                                                    Choc
of fetal cell lines used in some COVID-19 vaccines
Richard K. Zimmerman
Universin of Pirtsburgh. School of Mcdione, Department of Family Medicine, USA
Graduate School of ublic Health. Department of Behaviorol and Community Health Sciences, Pittsburgh. PA, USA




ARTICLE                 1N FO                           A BST RACT

ArTicle hutorn:                                         Many persons with religious convictions report hesitancy about COVID-19 vaccines, in part due to ethical
                                                                                                                                  The        of
Received 5 May 2021
Received in revised form 8 June 2021
                                                        concerns that fetal cell lines are used in the development of  certain vaccines.  issue abortion iscon-
                                                        tentious and. given the potential impact on COVID-19 vaccination, it is important for ciinicians to be
hcepted 10 June 2021
Available onl1ne 15 June 2021
                                                        aware of this issue, whatever their
                                                        their patients:
                                                                                               personal beliefs. provide four responses that clinicians
                                                                                                                I
                                                                                                                                                     may    offer
                                                                          1) Ethical analyses of moral complicity and COVID vaccines. 2) Altruism and protecting

Keywordr
                                                        others from a virus
                                                                              that is often transmitted whileasymptomatic or pre-symptomatic. 3) Religious texs
                                                        and many religious leaders support prevention and, therefore, vaccination. 4) Administration of vaccines
COViD-19 vaccines                                       not developed in fetal cellines. Although I wish for all my patients to be vaccinated. I respect their auton-
Vacine cthics
                                                        omy to make the choice to be   or not to be vaccinated and understand that many have a deep regard for
Fetal cell ine ethics
                                                        fetal ite.
                                                                                                                            2021 Elsevier Ltd. All rights reserved.




 1. Eackground                                                                               Cell lines developed from past abortions are used in the testing
                                                                                         or development of certain COVID-19 vaccines. The HEK 293 cell
    Many persons with religious convictions report hesitancy about                       line was developed in Holland in the early 1970s from embryonal
covID-19 vaccines. A Pew Research Survey               in                                kidney tissue from a supposedly therapeutic abortion that was
                                                        conducted February
2021 found that 36% of Protestants and 22% of Catholics are unwill-                      transformed by adenovirus type 5. The PER.C6 cell line was devel
ing to be vaccinated; subgroup analyses found that 45% of white                          oped in 1995 from retinal tissue from an abortion       in 1985 that
                                                                                                                                                     was
                                                                                         transfoned by adenovirus type 5. The University of Oxford/Astra
evangelicals and 33% of black Protestants are unwilling II
                                                                                         Zeneca vaccine ChAdOXI nCoV-19 is developedinthe HEK 293 cell
Although many seasons underlie this hesitancy. one area of
                                                                                         line and the Janssen/johnson & Jolhnson vaccine Adenovirus 26 vac-
Teported concerns is that receiving such vaccines implicates the
                                                                                         cine Ad26.COv2.S is developed in the PERC6 cell line; however, the
ecipient with cooperation with abortion. The issue of abortion is
contentious and. given the potential impact on COVID-19 vaccina-                         final products do not contain fetal cells, The mRNA vaccines are not
tion, it is important for clinicians to be aware of this issuc, what-                    manufactured in cell lines, althougl testing of mRNA vaccines
ever their personal belicfs.                                                             reportedly uses cell lines.
    In an article published in Vaccine in 2004, I reported on an anal-
ysis of ethical conterms raised on web sites about vaccines grown
                                                                                         2. Response t#1: Ethical analyses of moral complicity and COVID
in human tissue cult ures that wese originally derived from abor-
                                                                                         vaccines
tions       The web sites raised a variety of concerns including lack
of respect for fetal body parts, implication of material couperation
                                                                                             Bioethicist Robert Orr MD suggested criteria for evaluating
in abortion, vaccination inplies ayreement with abortion, profi-
                                                                                         moral complicity: (1) tiuning, (2) proximity. (3) certitude, (4)
teering Irom abortion, and autonomy.
                                                                                         knowledge and (5) intent 1. (1) Facilitating a future immoral
                                                                                         act is clearly problematic whereas indirect association with a com
                                                                                         pleted, past action may be unavoidable. For example, driving on
                                                                                         road that was originally built with slave labor imay be dificult to
  Correspundin          àuthur at   Deiattunent ul mly Medirne, Juveisly o
                                                                                         avoid in some places. The abortions resulting in these cell lines
                                                   Sute 20. I'ilslbuigl1. I'A 19200
PHsburgh Sthoul ul Mrdu inr, 4420 Bsyard Ave,                                            occurred in the 1970s and 1980s ale separate in tine, iuntent and
USA.
    T-moil oddiess.
                                                                                         deed from vaccination Loday. (2) Proxinity deals witlh tlhe


0264-41Ox/°     20211 Hsevrr Lud All nzhts iesrrvrd.
         Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 28 of 60

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                                                                                                                                  V i t 1 9 (J021 1212 1}1

 clorness of prrson with the aton For instancc a s(hooi is not           potcntiai lor symtomatic-h.asecd prevention 1easures s1uch As 15
 ICpronsible for teaching chemistny that a graduatc used in plan-         ation,anofher strategy Is neceded out of concern for otiers. Vacei
 ning a bombing. it i1s the ciaduatc who is responsiblc for such an      nation reduces not only symptomatic infectinn, but asymptormatic
 vil action. Although the original rell that resulted in the ccll linc   infcction and transmission as well
1a drrived Irom an abortion. thc urrcnt ccil lines have multi-              Herd imununity can protect vulner.able persons, such as those
 plird many times - 11 1s not the original tissuc. Indccd. vaccination   wmth immunocompromising conditions or the very azrd. who
 today is ttmott in intent and decd from ccll strain cstablishnment      may not respond as well to vaccination or persons with allergic
 and from abortion that occuTed more than a
                                                     quartcr century     conditions that preclude vaccination. To achicve herd immunity
 ago 3 CCtitudc dcals with how well the facts arc known First,           contacts of the vulnerable, in particular, and the general population
 the facts related to cell lines are
                                     fairly weli establishcd. Second,    at large need to be vaccinatcd. Israel, among the first countries to
 for public
             hralth. the CDC ACiP Evidence to Recommendation             sce high vaccination rates against COviD-19, has seen       drop in
 iTamework specifically addresses ccrtainty of the cvidence for crit     cases that can be attributed to herd immunity191. Vaccination with
 loutconcs and has found high cctainty for prevention of                 the purpose to achieve herd immunity and protect others is
 sy7Tptomabe CovID-19 (4) Knowlcdge of the moral issue is the            altruistic.
 next cnienion Many car divers in the southern part of the US do
 not know il some of the roads that they use were originally mmade
 with slavr labor
                oveTa hundred and hfty years
                                             ago. In an analogous
 e inCr. a person who is vaccinated today would not be account           4. Response *3: Religious texts and many religious leaders
 able for drtailrd knowledgc of circumstanccs of a quarter or half       support prevention and vaccination
 cefury go, before many of the vacanees were cven born. (5)
 Intent 1s the final cntenon The intent of the development of                     Religious texts support prevention and altruisn. In the context
 COviD 19 vaccines is to protect the vaccinee, protect the popula-       of the ancient Middle East, during which time people spent time on
t07 and control the pandeic For those with a prolife viewpoint           their roof. it is written "When you build a new house, be sure to
 Dr Orr notes. "t might be pOssublc to remove any concern about          put a railing around the cdge of the roof. Then you will not be
 Tioral complhciny in those sutuations where there is a clear separa-    responsible if someone fails off and is killed" (Deuteronomy 22:3.
 1O berween the intention of the im.moral act of person A and the        Good News Translation (GNT). Physical protection, even ith
 7itention of person B For cCiimpic. in the vaccine example. the         human-made instrumernts, is seen as a blessing: "May his towns
 tento o person A was to end 2 pregnancy. not to develop a vac-          be protected with iron gates" (Deuteronomy 33:25. GNT). The
 Ciie. Devciopment of the vacane by person C was a nobie act that         Love one anotlier passages in the New Testament support caring
 thepptaed to be possble because of the eatlier immoral act of per-      for another, wirh direct attention to caring for physical needs
 :o A Thut. use of the vaccane by person B is clearly separated              our love should not be just words     shows itself in action.
 rom the immoral art so that person B shouid bear no moral               (1 John 3:18 CNT). Being vaccinated dramatically reduces the risk
                                                               culpa     that one will transmit virus to others.
 bisty                                                                      A number of religious leaders from a variety of faiths have spo-
   The Prinopie of Double Efect is used to rvaluate moral conflicts
 when &t aCtun tould produce both sgood and bad elfects. These           ken in favor of vaccination see Iabt 1.
 er2 sclude 1, tht ct10 tself must be morally indifferent or
                                                                  cri
 good2, thr bac tect mu:t not be the means by which the yood
 ellea     achirved.     the mutrve must be the achievement of the
                                                                         5. Response #4: Administration ol vaccines not developed in
 good ellect tmly etid 4 thegoudefect must be at least equivalent
 h ataportafice to the bed ellet
                                                                         fetal cell lines
                                  To apply these criteria to COVID
 15 vcciietiun 1j the act uf vettunatun is zod as it prevents
                                                                  dis
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 c e i h 1tht ttupitt &id cotibutes lu hctd immunity. (2) The                     For those paticnts who refuse a vaccine that is developed in a
                                                                         cell line that was derived from an abor tion, ilternatives exist: for
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                                                                         instance, nkNA vactines as a class are not designed, developed
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                                                                         ur produced in fetal cell lines |        nt.
                                                                                                            ln addition to the oRNA                      Vvacc
                                                                         nes, otier classes are in developnent witlh products nor designed
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                                                                         or produced in letal cell lines.
 afnd tht (umm.uity by trd iniasnity, thu: tlir motives are good
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  4, The gud eilett, Leving ul butadied.d tlisalud: uf lives      tis
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              Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 30 of 60




From:                                          Walcott, Thomas J CAPT
Sent:                                          Thurcda      Santemher 30 2021 1.50 PM
To:




Cc:
                                                RE: Information requested: due NLT noon est Friday October 1
Subject:

                        there                       the first version of this I sent out. If you        saw   both versions this is the correct   one.
 My apologies       -




                                was a   typo   on




 Chaplains,
 Ihave been asked by leadership here at CGHQ to get some feedback on the optional questions that were produced by
                                                                  be the last e-mail          this issue. Short    answers are    best but feel free to
egal and sent out last week. Hopefully this will
                                                                                         on

 elaborate as you wish.

                                                                          produced by legal      to assist in the conversations you have had         irt
        1.     Have you made use of the optional questions
               Rel Accom waiver requests? Yes or No


                                                                                         sense   that   they were   intended to
        2.     When you initially read the optional questions,              was   your
                   a.    Make the case for granting a waiver stronger

                   b.    Make the case for granting the waiver weaker
                   C.    Help the requestor engage in critical thinking
                   d.    Other (specify)

               If you answered     no   to   question #1    you   can   stop here.



        3.     If you used the optional questions, did you
                   a.    ask the questions verbatim or
                   b.    use         guide your conversation
                                them to                                   or

                   C.    in another way (specify)?

         4.    Did you find the optional questions
                   a.    Helpful
                   b.    Not helpful
                         Unnecessary
            Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 31 of 60

              d.    other (specify)

    5.   After receiving the optional questions, did you change the way you conducted the interviews? Yes or No



Thanks really appreciate getting the responses back by noon, EST, tomorrow.


V/R,

Thomas Walcott
CAPT, Chaplain Corps, USN
Chaplain of the Coast Guard
Commandant (CG-00A)
 2703 Martin Luther King Jr. Ave SE
 Washington D.C. 20593-7000
202-372-4545
Thomas.j.walcott@uscg.mil

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 Follow us on Facebook at "Chaplain of the Coast Guard"
 Locate your nearest Coast Guard Chaplain: 202-372-4900
 National Suicide Prevention Lifeline: 1-800-273-TALK (8255)
 Coast Guard       Support   Confidential   Counseling   and Assistance: 1-855-CG-SUPRT

 (247-8778)




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               Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 32 of 60




From:                                  Walcott, Thomas CAPT
Sent:                                  Tuesday, October 5, 2021 8:58 AM
T




                                                                                    warcoL    Omds J              lamS




CC:
Subject                                 Important updates

 Importance:                            High

 Team,

 A few items I need you to be aware of.

        1.   FYSA, our chaplain team produced a total of 897 Rel Acc Waiver memos as of last Friday. The 259 from last week
             is down about 60 from the previous week but it's too soon to tell if that is a pattern. I appreciate you getting
             your numbers to me by the end of each week. It saves me a lot of time if I do not have to reach out to each
             chaplain who hasn't submitted anything.
                 a. lf your number is 0, please report that so I don't assume you are just late reporting
                 b.   Each week what I need are just the numbers for that week (not your total numbers please, I have what
                      you have previously submitted already).
                C.Forthis week could you also let me know - roughly- how many total CG reserve memos you prepared

                      (if any).
                 d.   Just looking for CG data, not Navy.


        2.   We had a situation where a service member wanted to bring theirpastorandlawyerto thechaplaininterview
             consulted with legaland thatis not appropriate. The interviewisTTOt a legal proceeding SO therei5 nO reasonfor
             a legal representative to be there. Since the focus is on what the service member believes, having their clerey
             person there serves no purpose.


        3.   1f, in the course of your interview, you discern that the issue for the service member is not religious and does
             not meet the criteria for a rel acc waiver, your first step should be to encourage them to seek a waiver from
             medical (if it is medical or having to do with the science behind the vaccine). Or not submit a request. If they
             persist in wanting to submit a religious accommodation request when you are clear that it is not a religious
                                                                      conducted the interview, informed the service
             issue, prepare a very brief memo simply stating that you
             member that the issue they presented did not meet the criterla of deeply held religlous belief, and that you
                                               religious accommodation   waiver.
             advised them not to pursue the
              Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 33 of 60
       4.    You will be getting another e-mail from me today about ACS evaluations. These are a higher priority than the
             relig accom interviews and memos.

       5.    Tknow some ofyou are working a lot of interviews and memos. Itruly want you to pace yourselves. There is
             not a rush to get these done as the CG has not started the process of reviewing and adjudicating these
             yet. Once they do, there will be a significant backlog. Do not neglect allthe other facets ofyour ministry. If you
             need assistance with interviews, contact Chaplain Benson and he can assign a reserve chaplain to help you.

Let   me     know if you have any   questions.
V/R,

Thomas J Walcott
CAPT, Chaplain Corps, USN
Chaplain of the Coast Guard
Commandant (CG-00A)
2703 Martin Luther King Jr. Ave SE
Washington D.C. 20593-7000
202-372-4545
Thomas.iwalcott@usCg.mil
USCG        Chaplains: Serving God &God'speople
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National Suicide Prevention Lifeline: 1-800-273-TALK (8255)
Coast Guard Support Confidential Counseling and Assistance: 1-855-CG-5UPRT
(247-8778)
             Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 34 of 60
                                                                Ex - 3



From:                                   Smith, Jason E. CAPT USCG SEC HOU/GAL (USA)
Sent:
                                        Friday, September 24 2021 3:07 PM
To:
                                        D08-DG-SECHouston-Co&OinC; D08-DG-SECHouston-DeptHeads
 Cc:
                                        Wike, Molly A CAPT USCG MSU PORT ARTHUR (USA);          Donohue,
                                                                                                      Keith M CAPT USCG
                                        SEC HOU/GAL (USA); Brown, Justin E LT; Hufnall, James S LT USCG
                                                                                                        (USA); Doran,
                                        Thomas K CPO USCG (USA); Villa, Rosita A CPO USCG SEC HOU/GAL (USA)
 Subject:                               RE: Vaccine Religious Accommodation Process


 Sr Staff'Co/oIC,

 Due to suspension of CARE Act funding, we will be standing down the COVID IMT late next week and will be
briefing out the transition of COVID related duties at Monday mornings meeting. Please be aware that there
will be increased responsibilities for both commands and members
                                                                  once the COVID IMT is stood down.


 Additionally as religious accommodation requests are being routed up to SHG/MSU commands, please ensure
 the   following questions are answered somewhere in the package.             This infomation will be used to prepare the
 06 command      memo needed for the
                                      package:
o    members   duty position and primary job requirements;
o can    member social distance at all times to meet his/her
                                                             job         requirement,
o    is the member able to   wear   necessary PPE such     as   N95   throughout the workday;
 ois the member able to telework to accomplish his/her job requirement;
o    does the member engage face to face with members of the
                                                                        public/maritime industry to accomplish his/her job
requirement

o is there any expectation or need for duty crew berthing or shared government housing
                                                                                                     arrangement
o    is the member entitled to         shared
                                 use
                                                dining/galley or workout spaces on a regular basis


From: Smith, Jason E. CAPT USCG SEC HOU/GAL
                                            (USA) <Jason.E.Smith2@usCg.mil>
Date: Thursday, Scp 16, 2021, 9:28 AM
To: D08-DG-SECHouston-CO&OinC<D08-DG-SECHouston-CO&OinC@uscg.mil>, DO8-DG-SECHouston-DeptHeads
<DO8-DG-SECHouston-DeptHeads@uscg.mil>
Cc: Wike, Molly
            A CAPT       USCG MSU PORT ARTHUR (USA)
                                                         <Molly.A.
SEC HOUIGAL (USA) <Keith.M.Donohuc@uscg.inil>, Brown, Justin E LT             Wike@uscg.mil>,
                                                                               Donohue, Keith M CAPT USCG
LT USCG (USA)                                                      <]Justin.E.        Brown@uscg.mil>,
                                                                                           Hufnall, James S
                <James.S.Hufnall@usegmil>, Doran, Thomas K CPO USCG (USA) <Thomas. K.Doranduseg.mil>, Villa,
Rosita A CPO USCG SEC HOU/GAL (USA)
                                         <Rosita.A.
Subject: FW: Vaccine Religious Accommodation Process
                                                           Villa@uscg.mil>

Sr Staff/CO/OIC,     Plcase nole the
                                   below guidance and ensure all members secking religious
                                                                                           accommodations
understand thc process, cxpectation and timelines. D8 is encouraging Major Command CO endorsement for
consistency, therefore all requests should be routed for my attention within SHG AOR, cxcept CAPT Wike will
                                                                 1
           Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 35 of 60
address any    acconmmodations requestcd from ncmbers within MSU Port Arthur and MSU Lakc Charlcs.                      Vr
jes


From: Rced, John W CAPT USCG DIA
Date: Thursday, Sep 16,
                        2021, 8:48 AM
                                       (USA)      <lohn.W.Recdauseg.mil>
To: DO8-DG-District-Air Station CO
                                    XO
                               <DO8-DG-District-AirStationCOXO@uscg.mil>, D08-DG-Disiicl-
AllSectorCDRs&MSOCOs <DOS-DG-District-AllScctorCDRs&MSOCOsa  uscg.mil>,                 D08-DG-District-Cutler-CODN-DU
District-Cutter-CO%@uscg.mil>
Cc:   Pape, Bryan   C. CAPT USCG D8   (USA)    <Bryan.C.Pape@uscy.mil>, Bowden, Jennifer D CDR
Jenniter.D.Bowde@uscg.mil>, Johnson, Marques AMCPO USCG (USA) <Marques.A.Johnson@uscg.inil>, Wood, James
R MCPO USCG PSU 308
                      (USA) <lames.R.Wood@uscg.mil>, Silverman-Wise, Nan Olivia CAPT USCG (USA)
Nan.O.Silvennan-\Vise@uscg.mil>, Carter, Justin MCAPT USCG (USA) <lustin.M.Carter@uscg.mil>, Blount, Trevor A
LCDR USCG D8 (USA)
                          <Trevor.A.Blouni@uscg.mil>, Tricon, Jesse M LT USCG GULF STRIKE TEAM (USA)
Jesse.Tricon@uscg.mil>, Holdridge, Toby LCAPT USCG D8 (USA) <Tobv.L.Holdridge@uscg.inil>, D08-DG-District-
AllDeputySectorCDRs&MSOXOs <DO8-DG-District-AIIDepuly`ectorCDRs&MSOXOs@ uscg.mil>
Subject: Vaccine Religious Accommodation Process

 D8 Leaders,

This email provides amplifving guidance for requesting a religious accommodation in accordance with CI 1000.15
(attached). For those seeking a religious accommodation, they should begin working through the process and routing
their memo to the command as soon as possible. Please ensure this information is passed to your field units
directly. Below are the step-by-step procedures for commands/members to follow:

1. Member      Counseling:    For any member   requesting a religious accommodation,   you should issue them   a
                                                                                                                   CG-3307
(P&D-41A) as soon as possible.
2. Medical Consultation: Next, members requesting a religious accommodation must consult with a medical officer in
accordance with the attached instruction       (COMDTINST CI 1000.15)
3. Chaplain Interview: The member must schedule an interview with a Chaplain. The instruction allows, but does not
require, this interview to be completed before submitting the request memo. The content of the interview is not
privileged or confidential.
4. Member Submission: Next, the member should submit their request for a religious accommodation using the
template request memo in enclosure (2) of the attached instruction. The member must document the medical
consultation in the memo. If the Chaplain interview has already taken place, the member should document that the
consultation has also occurred in the body of the memo.
5. Memo Routing: The routing for all religious accommodation requests shall be from the member to COMDT (CG-133),
thru (1) Command (Recommend MACOM), and (3) COMDT (CG-112). In order to expedite the process and maintain
consistency across the MACOM and District.
6. MACOM Endorsement: Upon receipt of a request, check to see if the members request meets the requirements of
CI 1000.15 (e.g., includes a description of the basis and the details of the medical consultation). Your endorsement
should be from the MACOM to cOMDT (CG-133), thru COMDT (CG-112). A simple signature endorsement is acceptable.
If you plan to do more than a signature endorsement, although not required, it is strongly recommended that legal
review your endorsement.
7. Chaplain Input as Enclosure: Engage your Chaplain to determine if the member has completed an interview. If so,
the respective Chaplain should prepare a memo based on their interview of the member. The Religious Accommodation
Interview Checklist (encl (3) of CI 1000.15), and Confidentiality Advisement (encl (4) of Cl 1000.15) must be included as
enclosures to the MACOM endorsement and note these enclosures in the body of your endorsement. If not, hold the
request until you receive all three documents.
8. MACOM Endorsement (if providing more than a signature endorsement)
Mission Impact: You may comment on the impacts ofthe member remaining unvaccinated at their current unit and
the risk that this presents to their shipmates. Assume that if a member remains unvaccinated, he/she will have to wear
masks, socially distance, and undergo frequent tests (1-2x/week). In your endorsement, you should discuss whether

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         Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 36 of 60
those additional requirements are viable from an operational/mission perspective. Please describe whether the
command can realistically mitigate the risk of the unvaccinated member and still carry out required missions. If there
will be mission impacts, describe them.
Sincerely Held Belief: In your endorsements, you should avoid commenting as to whether or not a member has a
sincerely held belief. However, if you have information (fact not opinion) that suggests a belief is not sincerely held, you
may include that information. Again, recommend discussing with legal before adding this type of information. You must
avoid hearsay statements.
9. Forwarding Endorsement & Timing: The CG-3307 (P&D-41A) requires members to submit their accommodation
reguests  within 7days ofreceiving their page 7. You maystillacceptrequests after that date(at least untilCGHa
 provides additional guidance/deadlines)ifthe members are actively working towards scheduling a consultation With a
medical officer and Chaplain. With that said, once you receive all the necessary information, complete your
endorsement and forward your request to CG-112. Please copy D8 Covid Area Command for their visibility. Members
should also plan ahead so that they can complete their vaccination regimen within any required window if their request
is not approved.
10. CG-133 Makes Decision: If request is approved, the Command will ssue a CG-3307 (page 7) to the requestor based
 on the decision memo issued by CG-133.
 11. Member's Right to Appeal: If request is denied by CG-133, members have the right to file an Equal Opportunity
                                                                                                               The
 complaint (within 45 days of denial) or submit a written appeal to CG-1 (routed thru the Command and C6-133).
 written appeal must include the specific basis on which the member believes the initial denial was in error.


 I have also included a short summary, prepared by the Chaplain Corps, you can provide to members as they consider this
 option. Our steps, in the body of this email, speak to the process from a command perspective

 If you have questions regarding the religious accommodation process, please contact your Chaplain or the D8 SJA.




 Very Respectfully,
 JR


 Captain John W. Reed, USCG
 Chief of Staff, Eighth Coast Guard District
 (504) 589-6223




                                                               3
           Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 37 of 60




From:                                                          JSA)
Sent:                             Tuesday, October 19,2021 9:33 AM
To:
Subject:                           FW: CO's First Endorsement for Religious Accommodations
Attachments:                       CO's endorsement Accommodation.docx

Importance:                        High

Good Morning
Forwarded is the email I mentioned over text.

V/R



From:
Sent: Monday, October 18, 2021 4:12 PM
Tox



CCX


Subject: Co's First Endorsement for Religious Accommodations
Importance: High

All,

 Included with the member's memo requesting religious accommodations to avoid receiving the COIVD vaccine the
 attached endorsement must also be completed. Note the second to the last sentence in paragraph 1.

The CO has requested that all accommodations/exemptions requests be submitted to him through YNC Villa by Friday
10/22/21. Of course I want to see it first.
 Make Sense,
     Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 38 of 60



                                                                             6230
                                                                             DD MMM YYYY


 FIRST ENDORSEMENT on RANK First and Last's memo 6230 dtd DD MMM YYYY


 From: Jason E. Smith, CAPT
       CG SECTOR Houston-Galveston (s)

To:   CG-133
Thru: CG-112

 Subj:   REQUEST FOR RELIGIOUS ACCOMMODATIONS

 Ref.    (a) Military Religious Accommodations, COMDTINST 1000.15
 1.      In accordance with Reference (a), Commands must include an endorsement on the
member's religious accomnodation request. From an operational perspective over the past 19
months, we have seen significant operational impacts due to COVID with cutters non-mission
capable and entire duty teams out of rotation for weeks due to one member with COvID
symptoms. I believe every member at the Sector serves a critical role and not meeting all
vaccine requirements poses an unnecessary risk to the member's ability to
                                                                          support our operations
and risk to others around them. With this in mind I am unable to
                                                                 support any religious
accommodations at the expense of unit operations. Additionally the below criteria further
justifies this position [add all that apply).

         This member serves in an operational duty position.
         This member serves in a position with an expectation for duty crew berthing or shared
         government housing arrangement.
         This member is entitled to use shared dining/galley or workout spaces on a regular basis.
         This member cannot social distance at al times and fully meet his/her
                                                                               job requirement.
         This member is unable to able to wear necessary PPE such as N95 throughout the
         workday and fully meet his/her job requirement.
         This member is unable to fully telework and fully meet his/her
                                                                        job requirement.
         This member engages face to face with members of the public/maritime industry to
         accomplish his/her job requirement

2.       I have
              counseled [Rank Name] that noncompliance with immunization
                                                                                  requirements may
adverscly affect his/her deploy ability, assignment, or international travel and of
                                                                                    my position
noted above on how unvaccinated members negatively
                                                         impact operations   and unit readiness.
               Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 39 of 60
                                                           Ex - 4
Brown, Justin ELT
From:                                 D08-SMB-SecHoustonlMT
Sent:                                 Wednesday, September 22, 2021 4:34 PM
To:                                   D08-DG-SecHouston-AllUnits
Subject:                              Sector Houston-Galveston COVID-19 Update
Attachments:                          COVID_19 Risk Assesment Flowchart V 9.1 30Aug2021.pdf; COVID Desk Guide
                                      (9-17-2021).pdf, COVID-19 ALCOAST LIBRARY 2021-09-17.pdf; Sector CovID
                                      Tracker-20Sep21.pptx; COVID Case Trend Region-State-20Sep21.pptx; Community
                                      Impact Situation Report for Sector Houston Galveston 09202021.docx


Good afternoon

Please reference attached for updated COVID-19 information. All COVID-19 related information is updated weekly to
the Sector HG COVID-19 CG Portal page.

Sector HG COvID-19 CG Portal page link:     http://cglink.uscg.mil/SHG-COVID-19
COVID-19 HOTLINE: (346) 378-8127



Notes from Sector CovID IMT:



      1.   Vaccination Scheduling: For clarification, Medical is scheduling vaccination appointments through the members
           command. However, members are free to contact Base Medical to schedule an appointment at any time. Base
           Medical will be attempting to schedule appointments on days that will have enough members to receive the
           vaccine once a vial (six per vial) is opened to prevent vaccine waste. The priority is to get members vaccinated
           as soon as possible. Members are also encouraged to receive the vaccine out on the economy if this is more
           convenient for the member. However, members must provide documentation to Base Medical to be included in
           members medical record.

      2.   CG 3307 (P&D-41a) Clarification: After receiving questions and concerns from members regarding the issuing
           and processing of the CG 3307 (P&D-41a), Sector Command has confirmed that members have 45 days from
           07Sep21, the date ALCOAST 315/21 (Mandating COVID-19 Vaccination for Military Members) was released, to
           receive required doses of their vaccine (1 dose for single dose J&J vaccine or 2 doses for any 2 dose vaccine). As
           long as a member completes the required doses of the vaccine during this timeframe, the members CG 3307
           (P&D-41a) will not be processed and entered into the members record. CG 3307 (P&D-41a) will be processed
           and entered into a members record for anyone that does not complete the required doses during the
           designated timeframe. It is important to note that CG 3307 (P&D-41a) is not a form of negative
           documentation. It's intended use is to provide documentation for COVID Mandatory VaccinationCounseling At
           this time, there is no additional guidance regarding action to be taken for non-compliance. AsarmnA R
           is time sensitive due to the scheduling of the vacine and the 21 day period in between doses Mame
           encouraged to complete this process as soon as possible.

      3.   Updated COVID-19 Risk Assessment Flowchart attached.

      4.   New FAQs released/updated on the 20th. No new official guidance.


https://www.uscg.mil/Coronavirus/Information/Article/2753898/mandatory-vaccination-for-military-members-faas/
         Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 40 of 60

https://www.uscg.mil/Coronavirus/information/Article/2482221/vaccine-general-information-fags/
https://www.usCg.mil/Coronavirus/Information/Article/2482285/reservists-vaccine-faqs
Q.Will  reservists be compensated for getting the COVID-19 vaccine?
A. Reservists will not be
                          compensated (i.e. Inactive Duty Training [IDT], Readiness Management Period [RMP], or
active duty orders) for the sole
                                 purpose of receiving the COVID-19 vaccine. All orders must comply with the
requirements outlined in Chapter 2 of the Reserve Duty Status and                                           duty
COMDTINST M1001.2(series).                                            Participation Manual,
Units may schedule a mass vaccination event for reservists
units have found this to be the most efficient
                                                                during regularly scheduled IDT drill weekends. Most
                                                way to vaccinate reservists. This may involve rescheduling one drill
weekend to meet the Pfizer recommendation of
no prohibition for
                                                   administering the second dose three weekS after the first. There is
                   rescheduling IDT drills during the first quarter of FY22.
To receive the vaccine from a DoD Military Treatment
                                                     Facility (MTF), reserViSis must be on
request a non-pay RMP to receive the vaccination from a MTF. However, other duties will beorders. Reservists may
period to meet the minimum time period for an RMP in Chapter 2.A of the Reserve              assigned during that
                                                                                  Duty  Status and Participation
Manual, COMDTINST M1001.2(series).
If available, reservists may also receive the vaccine
                                                      during other scheduled periods of active duty. Active duty orders
will not be extended to allow the member to receive both doses of a
on active duty.
                                                                      multiple dose vaccine (Pfizer or Moderna) while

Q. If a reservist has an adverse reaction and can't go to work in their civilian
                                                                                 job, will the Coast Guard put
them on orders and pay them for the missed time from work?
A. Severe adverse reactions to the COVID-19 vaccine are rare. Some
for a couple of days, though this does not necessitate
                                                                      experience sorenes at the vaccination site
                                                       missing work. Members experiencing an adverse reaction
should be handled in the same manner as they would for any other medical situation in accordance with Chapter 6
of the Reserve Policy Manual, COMDTINST M1001.28
                                                        (series).

Q.Are members ofthe Individual Ready Reserve (IRR) required to comply with the mandate?
A. The COVID vaccine, just like the flu shot, is a condition of employment. Per ALCOAST 315/21, members in the

Individual Ready Reserve (IRR) are required to be vaccinated in accordance with the deadline set by PSC-

RPM (their assigned unit).
Members of the IRR who refuse vaccination will be treated in a manner consistent with their Active Duty and driling

Reserve counterparts.


https://www.uscgmil/Coronavirus/Information/Article/2482238/vaccine-development-faqs/


V/R,




                                                           2
            Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 41 of 60
                                                 DEPARTMENT OF HOMELAND SECURITY
                                                               U.S. COAST GUARD

                                                     ADMINISTRATIVE REMARKSs
                                                             PRIVACY ACT STATEMENT

Pursuant to5 U.S.C. $552a(e)(3), this Privacy Act Statement serves to inform you of why DHS is requesting the information on this form.
 AUTHORITY: 14 U.S.C. § 505
PURPOSE: To documenta USCG service member's achievements, accomplishments, Uniform Code of Military Justice (UCMJ) infraction(s).
or any other USCG mlitary pay or personnel activity.
 ROUTINE USES: Authonized USCG offcials will use this information to validate a USCG service member's achievements, accomplishments
 UCMJ infraction(s) or any other USCG military pay or personnel activity. Any external disclosures of information within this record will be made
inaccordance with DHS/USCG-014, Military Pay and Personnel, 76 Federal Register 66933 (October 28, 2011).
CONSEQUENCES OF FAILURE TO PROVIDE INFORMATION: Providing this information is voluntary. However, failure to provide this
information may result in a   delay in administrating this form.
Entry Type: Performance and Discipline (P&D-41D)

Responsible Level: Unit
Entry: Negative
On [date on which P&D.41B 3307 wasissued], you were ordered to report to [location] at [date/time] to
receive the [first/second] dose of the COVID-19 vaccine. You acknowledged receiving the order on [date on
which P&D-41B 3307 was issued or date when member signed the 3307]. [You failed to report as ordered] or
You reported to the location as ordered but you did not receive a dose of the vaccine as ordered when it was
offered by clinic staff). You did not have an approved or pending religious or medical exemption on the date
that you were ordered to report to receive the vaccine. You had the opportunity and means to follow the order
and failed to do so.
You are in violation of Article 90 (Willfully Disobeying a Superior Commissioned Officer") and Article 92(2)
(Failure to Obey other Lawful Order") of the Uniform Code of Military Justice.




DDMMMYYYY:                                                  First MI. LastName
                                                            Commanding Officer
 DDMMMYYYY: I acknowledge reccipt ofthis CG-3307.

                                                           First MI. LastName




     NAME OF PERMANENT UNIT                                           2.NAME OF UNIT PREPARING THIS FORM


  3.NAME OFMEMBER(Last, First,MI)
                                                                      4.EMPLOYEE DNUMBER                    5 GRADE/RATE


                                         File original in SPO PDR, Email copy to CG PSC-BOPS-C-MR
 CG-3307 (05/20)                                                                                                                    Page 1of 1
 PREVIOUS EDITIONs ARE OBSOLETE
               Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 42 of 60




 From:                             Smith, Jason E. CAPT USCG SEC HOU/GAL (USA)
Sent                               Friday, September 24, 2021 3:07 PM
 To:                               D08-DG-SECHouston-Co&OinC; D08-DG-SECHouston-DeptHeads
 Cc:                               Wike, Molly A CAPT USCG MSU PORT ARTHUR (USA); Donohue, Keith M CAPT USCG
                                   SEC HOU/GAL (USA); Brown, Justin E LT; Hufnall, James S LT USCG (USA); Doran,
                                   Thomas K CPO USCG (USA); Villa, Rosita A CPO USCG SEC HOU/GAL (USA)
 Subject:                          RE: Vaccine Religious Accommodation Process


 Sr Staff/CO/OIC,

 Due to suspension of CARE Act funding, we will be standing down the COVID IMT late next week and will be
 briefing out the transition of COVID related duties at Monday momings meeting. Please be aware that there
 will be increased responsibilities for both commands and members once the COVID IMT is stood down.

 Additionally as religious accommodation requests are being routed up to SHG/MSU commands, please ensure
 the following questions are answered somewhere in the package. This information will be used to prepare the
 06 command memo needed for the package:

 O   members   duty position and primary job requirements
o can    member social distance at all times to meet his/her job requirement;

o is the member able to wear necessary PPE such as N95 throughout the workday;

o    is the member able to telework to   accomplish his/her job requirement;
o does the member engage face to face with members of the public/maritime industry to accomplish his/her job
requirement
o is there any expectation or need for duty crew berthing or shared government housing arrangement;

o is the member entitled to use shared dining/galley or workout spaces on a regular basis




From: Smith, Jason E. CAPT USCG SEC HOUGAL (USA) <lason.E.Smith2@uscg.mil>
Date: Thursday, Sep 16, 2021, 9:28 AM
To: D08-DG-SECHouston-CO&OinC <DO8-DG-SECHouston-CO&OinC@uscg.mil>, D08-DG-SECHouston-DeptHends
<DO8-DG-SECHouston-DeptHeads@uscg.mil>
Ce: Wike, Molly A CAPT USCG MSU PORT ARTHUR (USA) <Molly.A.Wike@uscg.mil>, Donohue, Keith M CAPT UScG
SEC HOU/GAL (USA) <Keith.M.Donohuc@uscg.mil>, Brown, Justin E LT <Justin.E.Brown@uscg.mil>, Hufnall, James S
LT USCG(USA) <James.S.JHufnall@useg.mil>, Doran, Thomas K. CPO USCG (USA) <Thomas.K.Doran@uscg.mil>, Villa,
Rosita A CP0 USCG SEC HOU/GAL (USA) <Rosita.A.Villa@uscg.mil>
Subject: FW: Vaccine Religious Accommodation Process

Sr Staff/CO/OIC, Please note the below guidance and ensure all members secking religious accommodations
understand the process, cxpectation and timelines. D8 is encouraging Major Command CO endorsement for
consistency, therefore all requests should be routed for my attention within SHG AOR, except CAPT Wike will
                                                            1
          Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 43 of 60
address any accommodations requested from members within MSU Port
jes                                                               Arthur and MSU Lake Charles. Vr



From: Reed, John W CAPT USCG
                                   DIA
Date: Thursday, Sep 16, 2021, 8:48 AM (USA)             <John.W.Reed@uscg.mil>
To: D08-DG-District-Air Station CO
                                    XO
AllSectorCDRs&MSOCOs               <DO8-DG-District-AirStationCOXO@uscg.mil>, D08-DG-District-
                         <DO8-DG-District-AlISectorCDRs&MSOCOs@uscg.mil>,
District-Cutter-CO@uscg.mil>                                              D08-DG-District-Cutter-CO <DO8-DG-
Ce: Pape, Bryan C. CAPT USCG D8
                                  (USA) <Bryan.C.Pape@uscg.mil>, Bowden, Jennifer D CDR
Jenr fer.D.Bowden@uscg.mil>, Johnson, Marques     A MCPO USCG (USA)
R MCPO USCG PSU 308                                                  <Marques.A.Johnson@uscg.mil>,
                        (USA) <James.R.Wood@uscg.mil>, Silverman-Wise,   Nan Olivia CAPT USCG (USA)
                                                                                                    Wood, James
Nan.O.Silveman-Wise@uscg.mil>,
LCDR UsCG D8 (USA)
                                   Carter, Justin MCAPT USCG (USA) <Justin.M.Carter@uscg.mil>, Blount, Trevor A
                      <Trevor.A.Blount@uscg.mil>, Tricon, Jesse M LT USCG GULF STRIKE TEAM (USA)
Jesse.Tricon@uscg.mil>, Holdridge, Toby L CAPT USCG D8 (USA)
                                                                 <Toby.L.Holdridge@uscg.mil>, D08-DG-District-
AlIDeputySectorCDRs&MSOXOs <D08-DG-District-AlIDeputySectorCDRs&MSOXOs@uscg.mil>>
Subject: Vaccine Religious Accommodation Process

D8 Leaders,


This email provides amplifying guidance for requesting a religious accommodation in accordance with
                                                                                                         CI 1000.15
(attached).  For those seeking a religious
                                           accommodation, they should begin working through the process and routing
their   memo to the command as soon as
                                           possible. Please ensure this information is passed to your field units
directly. Below are the step-by-step procedures for commands/members to follow:

1.   Member Counseling: For any member
                                       requestinga                 religious
                                                                accommodation,                           you should issue them
                                                                                                         CG-3307                 a
(P&D-41A) as soon as possible.
2. Medical Consultation: Next, members
                                          requestinga religious accommodation must consult with a medical officer in
accordance with the attached instruction (COMDTINST CI
                                                         1000.15).
3. Chaplain Interview: The member must schedule an
                                                      interview with a Chaplain. The instruction allows, but does not
require, this interview to be completed before submitting the request memo. The content of the interview is not
privileged or confidential.
4. Member Submission: Next, the member should submit
                                                           their request for a religious accommodation
                                                                                                       using the
template request memo in enclosure (2) of the attached instruction. The member must document the medical
consultation in the memo. If the Chaplain interview has already taken
                                                                      place, the member should document that the
consultation has also occurred in the body of the memo.
5. Memo    Routing: The routing for all religious accommodation requests shall be from the member to COMDT
thru     Command
                                                                                                                 (CG-133),
     (1)            (Recommend MACOM), and (3) COMDT (CG-112). In order to expedite the process and maintain
consistency across the MACOM and District.
6. MACOM Endorsement: Upon receipt of a request, check to see if the member's
                                                                                       request meets the requirements of
CI 1000.15 (e.g., includes a description of the basis and the details of the medical
                                                                                     consultation). Your endorsement
should be from the MACOM to COMDT (CG-133), thru COMDT (CG-112). A simple
                                                                                      signature endorsement is acceptable.
If you   plan   to do more   than   a   signature endorsement, although        not   required,   it is   strongly recommended that legal
review your endorsement.
7.   Chaplain Input as Enclosure: Engage         your   Chaplain   to   determine if the member has completed            an   interview. If so,
the respective Chaplain should prepare a memo based on their interview of the member. The Religious Accommodation
Interview Checklist (encl (3) of CI 1000.15), and Confidentiality Advisement (encl (4) of CI 1000.15) must be included as
enclosures to the MACOM endorsement and note these enclosures in the body of your endorsement. If not, hold the
request until you receive all three documents.
8. MACOM Endorsement (if providing more than a signature endorsement)
- Mission Impact: You may comment on the impacts of the member remaining unvaccinated at their current unit and

the risk that this presents to their shipmates. Assume that if a member remains unvaccinated, he/she will have to wear
masks, socially distance, and undergo frequent tests (1-2x/week). In your endorsement, you should discuss whether

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            Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 44 of 60
those additional requirements are viable from an operational/mission perspective. Please describe whether the
command can realistically mitigate the risk of the unvaccinated member and still carry out required missions. Iif there
will be mission impacts, describe them.
-Sincerely Held Belief: In your endorsements, you should avoid commenting as to whether or not a member has a
sincerely held belief. However, if you have information (fact not opinion) that suggests a belief is not sincerely held, you
may include that information. Again, recommend discussing with legal before adding this type of information. You must
avoid hearsay statements.
9. Forwarding Endorsement& Timing: The CG-3307 (P&D-41A) requires members to submit their accommodation
requests within 7 days of receiving their page 7. You may still accept requests after that date (at least until CGHQ
 provides additional guidance/deadlines) if the members are actively working towards scheduling a consultation with a
medical officer and Chaplain. With that said, once you receive all the necessary information, complete your
endorsement and forward your request to CG-112. Please copy D8 COVID Area Command for their visibility. Members
should also plan ahead so that they can complete their vaccination regimen within any required window if their request
is not approved.
10. CG-133 Makes Decision: If request is approved, the Command will issue a CG-3307 (page 7) to the requestor based
on the decision memo issued by CG-133.
11. Member's Right to Appeal: If request is denied by CG-133, members have the right to file an Equal Opportunity
complaint (within 45 days of denial) or submit a written appeal to CG-1 (routed thru the Command and CG-133). The
written appeal must include the specific basis on which the member believes the initial denial was in error.

Ihave also included a shortsummary, prepared by the Chaplain Corps, you can provide to members as they consider this
option. Our steps, in the body of this email, speak to the process from a command perspective.

If you have questions regarding the religious accommodation process, please contact your Chaplain or the D8 SJA.




Very Respectfully,
JR

Captain John W. Reed, USCG
Chief of Staff, Eighth Coast Guard District
(504) 589-6223




                                                              3
           Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 45 of 60

Brown, Justin E LT

From:                              Sabrina Wilder «sabrinawilder6@gmail.com>
Sent:                              Wednesday, September 22, 2021 1:40 AM
To:                                Brown, Justin E LT
                                   [Non-DoD Source] Fwd: FW: Vaccination Exemptions   Active Duty
Subject:


Here is another   one   of the emails my water   supervisor forwarded   to   me.



   - - Forwarded message           -----

From: Wilder, Sabrina G PO2 USCG (USA) <Sabrina.G.Wilder@uscg.mil>
Date: Tue, Sep 21, 2021 at 18:49
Subject: FW: Vaccination Exemptions - Active Duty
To: SABRINAWILDER6@GMAIL.COM <SABRINAWILDER6@gmail.com>




From: Reno, Joergens V CIV (USA) <Trey.Reno@uscg.mil>
Sent: Tuesday, September 21, 2021 6:32 PM
To: Wilder, Sabrina G PO2 USCG (USA) <Sabrina.G. Wilder@uscg.mil>
Subject: FW: Vaccination Exemptions - Active Duty




Very Respectfully,
Trey Reno

VTS Houston Galveston TX

Watch Supervisor

281-464-4837




From: Hernandez, Alberto II CIV USCG SEC HOU/GAL (USA) <Alberto.Hernandez@uscg.mil>
Sent: Monday, September 20, 2021 4:05 PM
To: D08-DG-VTSHouston-WatchSup <DO8-DG-VTSHouston-WatchSup@uscg.mil>
Subject: Vaccination Exemptions - Active Duty




                                                            1
           Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 46 of 60



WS,



Please pass to your ACTIVE DUTY.




There are two(2) paths for vaccination exemption.

1.    Medical


2.    Religious



POC for Medial Exemption is: HS1 Crystal Jones 281-464-4622. Call to begin process.

                                                      needed. Make       determination. Send determination up COC
Doc will call you,   give examination/ interview as                  a


for review.




POC for Religious Accommodation: Contact       Chaplain, Office on 4h Deck      to   begin discussing if you are
interested.




                            we were told that you are still likely to be Administratively Separated
                                                                                                    if you receive
NOTE: For both processes,
either exemption. The exemption will just permit you to not receive the vaccine before you are out processed.
                                                                                  This was the official
Please do not think you will be allowed to continue service if you are exempted.
communication in the brief today with Sector Commander, Chaplain, and Medical present.




Very respectfully,



Albert Hernandez

Operations/Training Manager

Vessel Traffic Service Houston-Galveston

U.S. Coast Guard

281-464-4827
            Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 47 of 60


Brown, Justin ELT
From:                           Sabrina Wilder <sabrinawilder6@gmail.com>
Sent:                           Wednesday, September 22, 2021 1:41 AM
To:                             Brown, Justin E LT
Subject:                        [Non-DoD Source] Fwd: FW: Vaccine Exemptions



Here is the other one. Thank you for all your help again!

V/R,

OS2 Sabrina Wilder
       ---- Forwarded message
From: Wilder, Sabrina G PO2 USCG (USA) <Sabrina.G.Wilder@uscg.mil>
Date: Tue, Sep 21, 2021 at 18:49
Subject: FW: Vaccine Exemptions
To: SABRINAWILDER6@GMAIL.COM <SABRINAWILDER6@gmail.com




From: Reno, Joergens V CIV (USA) <Trey.Reno@uscg.mil>
Sent: Tuesday, September 21, 2021 6:32 PM
To: Wilder, Sabrina G PO2 USCG (USA) <Sabrina.G.Wilder@uscg.mil
Subject: FW: Vaccine Exemptions




Very Respectfully,
Trey Reno

VTS Houston Galveston TX

Watch Supervisor

281-464-4837




From: Horstick, Adam T LT USCG SEC HOU/GAL (USA) Adam.T.Horstick@uscg.mil>
Sent: Monday, September 20, 2021 9:22 AM

                                                        1
            Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 48 of 60
To:   Reno, Joergens      (USA) <Trey. Reno@uscg.mil>; Neaves, Matthew W CPO USCG SEC HOU/GAL
                       V CIV
(USA) <Matthew.W.Neaves2@uscg.mil>
Cc: Hernandez, Alberto II CIV USCG SEC HOU/GAL (USA)
Subject: Vaccine Exemptions
                                                         <Alberto.Hernandez@uscg.mil>


Good Morning Gentleman,




We
    got word on Friday that just because someone gets an exemption for the vaccine, whether that be religious
or medical. does notmean they will not be discharged. The exemption could change the level of the discharge
whether it be general or honorable or whatever they may decide but either way if they don't get the vaccine they
will be discahrged. The biggest thing is that members should understand that just because they get an exemption
does not mean they will not be discharged from the Coast Guard.




I know OS2 Wilder was looking to get an exemption so could you please pass this information to her and see if
anyone has reached out to her and explained this to her or not? I want to make sure she has all the information
prior to making a decision.




Any questions or concerns please let either Mr. Hernandez or myself know.




 Very Respectfully,
 LT Adam Horstick

 Operations Officer

 USCG Vessel Traffic Service Houston/Galveston

 281-464-4829




                                                        2
            Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 49 of 60


Brown, Justin ELT
From:                               Hunn, Jonathan M PO3 USCG (USA)
Sent:                               Tuesday, October 19, 2021 9:33 AM
To:                                 Brown, Justin E LT
Subject:                            FW: CO's First Endorsement for Religious Accommodations
Attachments:                        CO's endorsement Accommodation.docx


Importance:                         High

Good Morning Chaps,

 Forwarded is the email I mentioned over text.


 V/R

 MST3 Hunn


 From: Morgans, Joseph w CDR USCG (USA) <Joseph.W.Morgans@uscg.mil>
 Sent: Monday, October 18, 2021 4:12 PM
 To: Bottiglieri, Mark A CIV USCG SEC HOU/GAL (USA) <Mark.A.Bottiglieri2@uscg.mil>; Sowers, Leigh G LT USCG SEC
 HOU/GAL (USA) <Leigh.G.Sowers@uscg.mil>; Frazier, Maleena X LTJG USCG (USA) <Maleena.X.Frazier@uscg.mil>;
 Zazzali, Peter F CPO USCG (USA) <Peter.F.Zazzali@uscg.mil>
 Cc: Hunn, Jonathan M PO3 USCG (USA) <lonathan.M.Hunn@uscg.mil>; Tyler, Gary E LTJG USCG (USA)
 <Gary.E.Tyler@uscg.mil>
 Subject: CO's First Endorsement for Religious Accommodations
 Importance: High

 All,

 Included with the member's memo requesting religious accommodations to avoid receiving the COIVD vaccine the
 attached endorsement must also be completed. Note the second to the last sentence in paragraph 1.

 The CO has requested that all accommodations/exemptions requests be submitted to him through YNC Villa by Friday
 10/22/21. Of course I want to see it first.


 Make Sense,

 CDR Morgans




                                                             1
      Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 50 of 60



                                                                             6230
                                                                             DD MMM YYYY


FIRST ENDORSEMENT on RANK First and Last's memo 6230 dtd DD MMM YYYY


From: Jason E. Smith, CAPT
      CG SECTOR Houston-Galveston (s)

To:      CG-133
Thru:    CG-112

Subj:    REQUEST FOR RELIGIOUS ACCOMMODATIONS

Ref:     (a) Military Religious Accommodations, COMDTINST 1000.15

1.     In accordance with Reference (a), Commands must include an endorsement on the
member's religious accommodation request. From an operational perspective over the past 19
months, we have scen significant operational impacts due to COVID with cutters non-mission
capable and entire duty teams out of rotation for weeks due to one member with COVID
symptoms. I believe every member at the Sector serves a critical role and not meeting all
vaccine requirements poses an unnecessary risk to the member's ability to support our operations
and risk to others around them. With this in mind I am unable to support any religious
accommodations at the expense of unit operations. Additionally the below criteria further
justifies this position [add all that apply].

         This member serves in an operational duty position.
         This member serves in a position with an expectation for duty crew berthing or shared
         government housing arrangement.
         This member is entitled to use shared dining'galley or workout spaces on a regular basis.
         This member cannot social distance at all times and fully meet his/her job requirement.
         This member is unable to able to wear necessary PPE such as N95 throughout the
         workday and fully meet his/her job requirement.
         This member is unable to fully telework and fully meet his/her job requirement.
         This member engages face to face with members of the public/maritime industry to
         accomplish his/her job requirement

2.       I have counseled [Rank Name] that noncompliance with immunization requirements may
adversely affect his/her deploy ability, assignment, or international travel and of my position
noted above on how unvaccinated members negatively impact operations and unit readiness.
           Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 51 of 60
                                                                            Ex - 5


                                      Walcott, Thomas J CAPT USN USCG HQS (USA)
From:
                                      Monday, December 6, 2021 12:15 PM
Sent
                                      HQs-DG-Ist-USCGCHAPLAINS;
To:
                                      various items
Subject:


Team,

A couple of items for you today.

                                                                                     was released last week. As expected, all
    1.   The first batch of religious accommodation adjudications (32 of them)
                                          Another  batch  will likely be relea5ed this week. I can assure you that each
         of these requests were denied.
         request  was/Will  De given careful consideration, balancing the right of the individual to seek religious
          accommodation as appropriate and the needs of a small service that doesn't have a lot flexibility.

    2.     As more service members receive their answers there will be tremendous opportunity for you to provide
                                                        do        with sensitivity. If there is          confidential feedback you   can
           pastoral care. I don't have to tell you to        so                                   none


           provide me Iwould appreciate that.
    3.     The deadline for submitting religious accommodation waiver requests has passed, so before you submit any
           suggest you speak with the appropriate command to see if they will support an exception allowing the request
           to be submitted late.

    4. And a reminder for you to fll out the paperwork that I sent you last week so that you can receive a "supplier"
           number (and be reimbursed for travel).

V/R, Tom

ThomasJWalcott
 CAPT, Chaplain Corps, USN
 Chaplain of the Coast Guard
 Commandant (CG-00A)
 2703 Martin Luther King Jr. Ave SE
 Washington D.C. 20593-7000
 202-372-4545
 Thonmas.i.walcott@usCg.mil
 USCG    Chaplains: Serving God &God's people
 www.uscg.mil/Chaplain
 Follow us on Facebook at "Chaplain of the Coast Guard"
 Locate your nearest Coast Guard Chaplain: 202-372-4900
 National Suicide Prevention Lifeline: 1-800-273-TALK (8255)
       Guard Support Confidential Counseling and Assistance: 1-855-CG-SUPRT
 Coast
 (247-8778)
    Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 52 of 60
                                               Ex - 6

  From: Walcott, Thomas J CAPT <Thomas.J.Walcott@uscg.mil>
      Tuesday, Sep 28, 2021, 1:32 PM
  Date:
 To: HQS-DG-Ist-USCGCHAPLAINS <Ist-USCGCHAPLAINS@uscg.mil, Edwards, Andrew J LT
  <Andrew.JEdwards@uscq.mil>, Stall-Ryan, Jamie J OCDR <Jamie.J.Stall-Ryan@uscq.mil>,
  Rodriguez, Santiago CAPT <Santiago.Rodriguez@uscq.mi>
 Cc: Jeff Benson <jefbenson4105@gmail.com>, Phillip Poole <drphil59@bellsouth.net
 Subject: Rel Acc Memos




 Team,


 I want to thank you for the diligent work being done on Rel Ac Waiver memos. I know
 this is a substantial burden on your already busy schedules. I don't foresee the demand
 signal easing up in the next few weeks so encourage you to make full use of your ACS
 team so they can do the visits and other work that you are not able to do because you
 are engaged with the RAM process. Also, we have a bench of reserve chaplains who
 can help. Contact Chaplain Benson if you would like some reserve chaplain help and
 he can assign a reserve chaplain to assist you.



 I hope that some of these interviews will open doors for ongoing dialogue as you are
 likely getting to know some people that you did not know before. This may also be an
 avenue for pastoral care moving forward. The DON has not given any waivers for
 immunizations since 2015 so it is unlikely that most RA waiver requests will be granted.
 You may have a pastoral role to play as service members decide what to do if their
 requests are denied.



 I have pondered for a while about what to say next but feel something needs to be said.




#1-The suggested/optional questions we were provided by legal last week were just
that, suggested options. Frankly, I did not find them very helpful and thought they were
unnecessary. But we are part of a team and we work with the team. Part of the team
(legal) requested that we consider those questions and so we did. That should have
been end of the story; those who found them helpful could use them, those who did not
could ignore them. But it was not the end of the story.




# 2-One or more of you decided that you would send these suggested/optional
questions to organizations outside of the CHC and Coast Guard. Had you first
  Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 53 of 60



dialoqued with us about our concerns and then, not being satisfied with our response.
felt the need to share these documents with others I might be able to understand it.
you didn't do that. lInstead you broke trust with your fellow chaplains. Since you didn't
                                                                                          But
voice your concerns to this office prior to doing that, I have no expectation that you will
explain your actions now andl don't need you to. Had you raised your objections to me
I would have addressed the issue, but you did not give me that opportunity.Make no
mistake, there are those on the far right and on the far left who would like to abolish
military chaplaincy. Things like this give them ammunition to do so.




Ministry in an institutional setting requires making a good faith effort to try to work within
the system. The willingness to do that is part of PNC and a skilltemperament required
of chaplains. The episode above shows no evidence of an attempt to work within the
system.



I know that even when talking "amongst ourselves" I need to be careful, because what
write might also end up being shared outside of this circle. That is a riskl am willing to
take because if we as chaplains cannot dialogue honestly and respectfully together, I
wonder how effective we can be in ministering to the women and men of the Coast
Guard.




VIR,


Thomas J Walcott

CAPT, Chaplain Corps, USN

Chaplain of the Coast Guard

Commandant (CG-00A)

2703Martin Luther King Jr. Ave SE
Washington D.C.20593-7000
202-372-4545

Thomas.j.walcott@uscg.mil
 Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 54 of 60




USCG Chaplains: Serving God &God's people
www.uscg.mil/chaplain


Follow us   on   Facebook at   "Chaplain of the Coast Guard"

Locate your nearest Coast Guard       Chaplain: 202-372-4900
National Suicide Prevention Lifeline: 1-800-273-TALK (8255)

Coast Guard Support Confidential Counseling and Assistance: 1-855-CG-SUPRT


(247-8778)
                                           Ex Filed
             Case 3:22-cv-00265 Document 25-9 - 7 on 09/06/22 in TXSD Page 55 of 60

                                                  DEPARTMENT OF HOMELAND SECURITY
                                                                    US. COAST GUARD

                                                       ADMINISTRATIVE REMARKS
                                                               PRIVACY ACT STATEMENT
Pursuant to5 US.C. 552ae3), this Privacy Act Statement serves to inform you of why DHS is requesting the information on this form
AUTHORITY: 14 U.S.C. S 505
PURPOSE: Todocument a USCG service member's achievements, accomplishments, Uniform Code of Military Justice (UCMJ) infraction(s)
or any other USCG military pay or personnel activity
ROUTINE USES: Authorized USCG officials will use this information to validate a USCG service member's achievements, accomplishments
|UCMJ infraction(s) or any other USCG military pay or personnel activity. Any external disclosures of information within this record will be made
in accordanoe with DHS/USCG-014, Military Pay and Personnel, 76 Federal Register 66933 (October 28, 2011)
cONSEQUENCES OF FAILURE TO PROVIDE INFORMATION: Providing this information is voluntary. However, failure to provide this
 infomation may result in   a   delay in administrating this form
Entry Type: Performance and Discipline (P&D-41C)
Reference: (a) COMDT COGARD WASHINGTON DC 262212Z AUG 21/ALCOAST 305/21
                 (b) DoD Instruction 6205.02, DoD Immunization Program (23 Jul 19)
                 (c) Immunizations and Chemoprophylaxis, COMDTINST M6230.4 (series)
                 (d) Unifom Code of Military Justice (UCMJ). 10 U.S.C. § 801-946 (as amended)

Responsible Level: Unit
 Entry:
 |As required by reference (a), and consistent with the processes outlined in references (b) and (c). you are
  requiredto receive a COVID-19 vaccine in accordance with Food and Drug Administration-approved labeling
 and guidance.
 |You were counseled on 260CT2021 and indicated that you intended to seek a medical exemption or religious
 accommodation. Your request for a medical exemption or religious accommodation was denied.
 You are hereby ordered to report to Walgreens located at 10850 Scarsdale Blvd, Houston, TX 77089 byy
 14JUN2022 to receive the first dose of a fully FDA-approved COVID-19 vaccine. A violation of this order
 may subject you to administrative and disciplinary consequences and is punishable under the Uniform Code of
  Military Justice (ref (d)., including under Article 90 (willfully disobeying superior commissioned officer) and
  Article 92(2) (failure to obey a lawful order).                    Vnder adrseme ot Counsal 3
                                                                                    Cecei      o C      rodar, bu+ A
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                                                                                    fyns OC radres,kr fo>ia            Aae evtr AS I wve

 DDMMMYYYY
                                                               aye E Smith
                                                             Conmanding Officer
                                                             Conmanding Oncc SaIercn protected
                                                                                         a mih
                                                                                               by
                                                                                                                   of ne laso w

  13             glz: I acknow ledge the above order
                                                                                                                  an
                                                                                                                       na            er abl
 DDMMMYYYY

                                                                Justin E. Brown




    1. NAME OF PERMANENT UNIT
                                                                         2 NAME OF UNITPREPARINGTHIS FORM
    Sector Houston-Galveston
   3.NAME OF MEMBER (Last.Firat.MI)                                      4 EMPLOYEE D NUMBER                5 GRADERATE
   Brown, Justin E.                                                                                        03/L1
                                             File original in SPO PDR, Email copy to CG PSC-BOPS-C-MR
   CG-3307 (05/20)                                                                                                                   Page 1of 1
   PREVIOUS EDITIONS ARE OBSLETE
      Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 56 of 60
                                                 Ex - 8

                                                                          Sector Houston-Galveston
 U.S. Department of                           Commander                   13411 Hillard St
 Homeland Security                            United States Coast Guard   Houston, Texas
                                              Sector Houston-Galveston
                                                                          77034
 United States
 Coast Guard


                                                                          6230

                                                                          06/14/22

MEMORANDUM
                                    /9Tun zz                11:S
From:       Chaplain Justin Brown, LT


To:         Jason Smith, Captain
            Commander Sector Houston-
            Galveston
Thru:       Martin Wygant, YNC




Subj:        FULLY FDA-APPROVED COVID-19 VACCINE NON-AVAILABILITY


Ref:        (a) CG-3307 Received 6 JUN          2022

1.    In accordance with reference (a), I have been ordered to Walgreens located at 10850
Scarsdale blvd, Houston, TX 77089 to receive the first dose of a fully FDA-approved COVID-19
vaccine, contraryto the injunctive relief issued by the court.

2. I, LT Justin Brown, was present at my directed place of duty at the scheduled tinme, under no
lawful obligation to receive a fully FDA-Approved COVID-19 VACCINE.

      a.   Witness Name.          Tina NguyeN
      b.   Witness    Signature:            N
      C. Date and Time: /14/22 2:25pm
3.As ofthe 14 JUN /1Sof my appointment, my provider aflirms that the availability of FDA
                                           follows
             and labeled vaccine is
                                      as
approved
                 Available
      a.

      b.          Not available


                 Neither confirm nor deny availability
      C.

           (1) Provider Name: eeAha Jenes
     Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 57 of 60



       (2) Provider Signature:
       (3) Date and Time            avasha
                                       1       2
       (4)        Provider declines comment

4.n accordance with 21          U.S. Code $ 360bbb-3
                                                         (eX1)MA)ii)(III) and 10 U.S. Code $ T107 (1)
C) Any person has
under "EUA".
                      a
                          right to reject the currently available COVID-19 vaccines due to their staus


5. "T have been advised
                           by counsel that my status as a Navy chaplain
adverse action or                                                          protects me from any
                   separation in relation to the current case and the COVID-19
"Adverse action" includes                                                          vaccine mandate.
                             any action for not agreeing to be vaccinated. The order instructs me to
report at a certain time for vaccination which I indicated is
                                                                        to my God given convictions
.I
   acknowledge you have given me an order. but as counselcontrary
                                                                has indicated it is an order that
cannot be enforced and therefore
                                    appears to be without proper authority because it has no
legitimate objective except to perhaps imply I acknowledge
vaccine, which is contrary to both the injunction and           I have an obligation to take the
acknowledge receipt without stating my position, it couldGod-given
                                                         my              convictions. IfT
                                                              be implied I indicated I would
and then change my mind. The order tells me to                                                 obey
                                                    report for vaccination. That cannot be a valid
order given the seope of the
                             injunetion. My counsel has further advised that the alleged" legality
of the order rests upon a lawful denial of
                                           my Religious Accommodation Request, which the
Court and several others have deseribed as
                                            "theater" and      therefore
of receipt and investigation of a Fully-FDA approved vaccine in noillegal". My acknowledgment
                                                                    way implies  an
acknowledgment obligation to receive vaccination, which would be contrary to
                  of
                                                                                               my    sincerely
held God given convictions, the
                                      injunetive reliet granted by   the court, and   places   me   at risk   for
moral injury.
  Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 58 of 60
                                                               Ex - 9

 U.S. Department of                               Commander                     13411 illard Street
                                                  United States C'oast CGuard   Houston, TX 770344
 Homeland Secunity
                                                  Sector Ilouston-Gialveston    Phonc: (409) 682-0346
                                                                                Email: Justin.E.Brown@USCG.mil
 United States
 Coast Guard




                                                                                SSIC 6230
                                                                                10 MAR 2022
MEMORANDUM

From:   LT Justin Brown, CHC, USN
        Chaplain, USCG Sector Houston-Galveston

To:     M.R. Roschel, CAPT

Subj:
Subj:   REQUEST FOR DoCUMENTATION AND TIMELINE EXTENSION TO APPEAL


Ref      (a) Religious Accommodation Request Memo 1000 Dated 15 OCT 2021
         (b) Privacy Act of 1974, 5 U.S.C. § 552a

         (c) CAPT M. R. Roschel 6230 Digitally Signed on 16 FEB 2022
         (d) Military Religious Accommodations, COMDTINST 1000.15

1. I respectfully request:

         a. All records or information contained by the Coast Guard pertaining to the evaluation          and
          rational of approving or denying ref (a) in accordance to the rights afforded me in ref(b).
          Specifically, I request a copy of all documentation, notes (i.e., board notes, legal notes, medical
         notes, chaplain notes, commanding officer notes), all generated forms, emails, the specific
         framework used to approve or deny Religious Accommodation Requests, the peer reviewed
         studies, data, and information used to make the statements contained in paragraphs 4. a-d. of ref

         (c),and       other records and documents pertaining to the matter of approving or denying ref
                      any
         (a).
         b. An extension to the ref (c) appeal deadline to no later than 10 business days after receipt of

         requested     documents in   paragraph    I.a.

         c. The Coast Guard to respond to this memorandum by communicating intent to approve or deny
         the 1.a. and 1.b requests prior to the appeal submission deadline of (22 March 2022) set forth in
         ref (c).

2. This timeline extension will allow proper time to consult an attorney and draft an appeal that addresses
the specific concerns of the involved members. I sincerely desire to respond in good faith to ref (c), the
documents requested in paragraph I.a. will enable me to do so. The legal system is overwhelmed with
military members seeking legal support, and the current 10 business day timeline does not allow adequate
time to benefit from legal counsel.
 Case 3:22-cv-00265 Document 25-9 Filed on 09/06/22 in TXSD Page 59 of 60



3.   Further my role as a chaplain covering 2 sectors across Louisiana, Texas, and New Mexico is time
demanding and I cannot in good conscience stop providing and caring for our members while also giving
the good faith effort this appeal warrants. The recent loss of two Coast Guard members in my sectors, one
to suicide, has required a significant amount of time and effort to care for our members and their families.
An extension to the appeal timeline to 10 business days after receipt of the above requested documents
will enable me to put forth the good faith effort an appeal requires while still being able to support our
sisters and brothers in need.




Copy to: HQS Policies and Standards
                                                                     Ex - 10
         Case
          From:3:22-cv-00265        Document
               Souders, J A (Jack) CDR         25-9
                                       USCG (USA)       Filed
                                                  < Jack.A    on 09/06/22 in TXSD Page 60 of 60
                                                           Souders@uscg.mil>
           Sent: Wednesday, May 4, 2022 10:01 AM
           To: HQs-DG-Ist-All-Aviation-Co <lst-All-Aviation-Co@uscg.mil>; HQS-DG-Ist-All-Aviation-XO <HOS-DG-Ist
            All-Aviation-XO@uscg.mil>
           Cc: Eriks, Andrew w.CAPT USCG COMDT (USA) <Andrew.W.Eriks@uscg.mil>; Schmadeke.BrentR
            CDR USCG BASE NCR (USA) <Brent.R.Schmadeke@uscg.mil>; Wine, Joshua D CDR USCG AVTRACEN
            MOBILE (USA) <Joshua.D.Wine@uscg.mil; Presnell, Christopher D COR USCG (USA)
            Christopher.D.Presnell@uscg.mil>
            Subject: Status of training at ATC- ALCOAST 157/22


5/5/22, 9:27 PM                                          Gmail-Fwd: Status of training at ATC - ALCOAST 157/22
            Aviation Leaders,



             Good morning from ATC! On Monday of this week, ALCOAST 157/22 aulhorized unvaccinaled members to
            attend C-schools "specifically required for their assignment." ATC pre-coordinated with CG-711,
             FORECOM., and ETQC to ensure we are immediately ready to capitalize on the change in policy. This
             means ATC is ready to receive unvaccinated personnel for those courses necessary to meel mission
            readiness reguiremenls including P-course, T-course, RD-course, Loadmaster. FM-C school and any other
            reguired C-school conducted by ATC.



             Sowhatdowe do next? This policy shiftis designed to restore operational readiness to struggling units, but
            will require repriortization of many courses, P-courses in particular. cDR Chris Presnell has been appainted
            as theATC representativetospearhead this effort and will assist in coordinating P-course schedules across
            allairframes along with CG-711 and ETQc. The goal is to quickly shuffle available courses to students
            based on highestmission readiness needs. Your OPS Bosses can expect an email later today from CDR
             Presnell with specifics. As your aircrew come home to ATC, please know we will continue to keep them
             safe regardless of vaccination status; only rational safeguards will be in place.


             Current safely measures for ALL members include:

                    Maximizing social distancing in classes and briefs.

                    Holding events/classes in an outdoors selting when able.
                    Increased availability of hand sanitation stations.

                    Increased sanitation frequency in the simulators.

                    Providing extra PPE in the galley.



             Additional safety measures for our unvaccinated students will include:

                 Rapid lest with negative result prior to travel to a C-school: periodic testing during extended courses
             such as T/RD courses may be required.

                    Only if absolutely necessary during periods of high local COVID transmission, we may restrict
              movement of unvaccinated students to the base.



             Thank you for your patience as we work through the next few months and expect continued communication
             as we move forward.




              Respectfully.
              CDR Jack Soude

              Executive Officer

              USCG Aviation Training Center

              Office: (251) 442-6100

             Cell:(251) 583-1296
              Bull Rider #250
